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                         LODGED
                CLERK, U.S. DISTRICT COURT



                        1/29/2018                      January 29, 2018

              CENTRAL DISTRICT OF CALIFORNIA                AK
                BY: ___________________ DEPUTY




                                                   2          729-JAK-MRWx
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1                    DECLARATION OF PAULINE AMEGBEDJI
2             1.   My name is Pauline Amegbedji. I currently reside in New York, New
3    York. The following statements are within my personal knowledge.
4             2.   In about March or April 2017, I received an email from someone
5    named Marvin Bennie. It had a link to a video about how he was making money
6    with Digital Altitude. The video made me believe I could make money online. I
7    spoke to Marvin Bennie on the phone and said I wanted to make sure it was
8    legitimate. He said it’s real, that he was doing it himself. He told me he could help
9    me make money too. I trusted and believed him.
10            3.   Marvin sent me other videos, about ten of them. They were about
11   marketing, and making money online. They made me believe I could make money
12   with Digital Altitude.
13            4.   Sometime in March or April, I clicked on a link for Digital Altitude
14   from Google and it took me to Digital Altitude’s website. It looked very
15   promising. It said you can make money because the coaches will show you how to
16   do it.
17            5.    At some point I decided to join Digital Altitude. When you join, they
18   give you a “promotion” -- $1 for what I think was 30 days. I joined for the $1
19   promotion. My first coach was somebody named Jedidiah Redd. The coach talks to
20   you through Skype. I talked to Jedidiah about the process of how you can make
21   money. Jedidiah said it costs about $2,000 to begin. You can pay $2,000 right
22   away or in four installments of $621. I said I wanted to pay in installments, and I
23   paid the first installment of $621. Attachment A is a true and accurate copy of my
24   Invoice/Receipt for the $621 payment.
25            6.   After I paid the $621, Digital Altitude sent me videos of Michael
26   Force, the founder of Digital Altitude. I believed Michael Force when he said in
27   the videos that I could make money with Digital Altitude.
28


                                                           Pauline Amegbedji Declaration Page 1

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1          7.     They gave me a second coach. That coach was Ash Ali. I talked to
2    him on Skype many times, almost every day for two weeks. During those calls,
3    Ash told me about how the business goes, how you will have a website, they send
4    leads, and those lead to people buying, and then you get money. Ash said I would
5    get another coach, who was a marketing coach. That coach would tell me how to
6    make money. But to get that, you had to go through a process. Ash told me I could
7    make $10,000 in one month.
8          8.     The BASE level of Digital Altitude was just to talk about the business.
9    RISE was the next level, which I paid the $621 installment for. When you are in
10   RISE, your coach sends videos and you get another coach for the next level, which
11   is ASCEND.
12         9.     Ash said it takes time to make money, but I would make money faster
13   if I went to the ASCEND level. ASCEND costs $10,000. I said I do not have
14   $10,000. He said, “we have a company we work with,” called Fundwise Capital. I
15   contacted Fundwise Capital and they opened three credit cards for me. They
16   wanted to open more, but I said “No” to that. I did not want to owe that much
17   money. That was in April. That’s how I got into credit card debt. I charged
18   $9,010.57 for ASCEND on or about April 15, 2017. I was also charged $270.32
19   for currency conversion, because the charge was in Mexican pesos. I was not told
20   about that in advance. A true and correct redacted copy of my credit card bill is
21   attached as Attachment B.
22         10.    Ash Ali never gave me time to read what he sent me through a link to
23   sign, from Digital Altitude. He said we need to do this now, and the next coach
24   will help me make the real money. He put pressure on me to sign quickly. He did
25   not tell me it would keep costing even more money after that.
26         11.    It took a few days to get assigned a marketing coach. I spoke to him
27   on Skype and on the telephone. That coach explained to me, “I got to be honest
28   with you, it’s not for free. You have to pay for it.” He said I would have to pay a lot


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1    more money in order to make any money. He said he cannot work with me unless
2    I have more money to spend. I was devastated and upset, because they did not
3    explain all that to me at the beginning. I realized I could not do this business,
4    because I did not have enough money. I realized they were just going to keep
5    asking for money, and I was looking for more income, not to keep spending money
6    instead. It was just like a roller coaster for giving money. They kept asking for
7    more money.
8          12.    I never made any money with Digital Altitude. They kept promising
9    me I would make money, but they only asked for more money. I lost everything I
10   paid to them and made nothing back.
11         13.    I tried to get my money back from Digital Altitude, but they refused to
12   give me my money back. They said I asked for my money back after the three days
13   allowed. I told them I did not even get my ASCEND coach until more than one
14   week after I paid, so that is not fair. They still said I could not have my money
15   back. Attachment C is a true and accurate copy of emails exchanged between me
16   and Digital Altitude.
17         14.    I tried to reverse the charges on my credit card but the credit card
18   company refused. Digital Altitude told the credit card company I did not cancel
19   within the three days and I agreed to the charges. Attachment D is my notice from
20   Wells Fargo denying my request for a chargeback.
21         15.    I am a widow. I have to support myself and my two children. I did not
22   have enough money to support my family even before I spent so much money with
23   Digital Altitude. Now it is much worse.
24         16.    I think Digital Altitude cheated me. They kept asking for money and
25   making promises they did not keep. If I had known I would pay over $10,000 and
26   not make any money, I never would have joined Digital Altitude.
27         17.    Losing this money for Digital Altitude has been terrible for me. It has
28   ruined my credit, which was in the seven hundreds before this. I cannot afford to


                                                            Pauline Amegbedji Declaration Page 3

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                                        Attachment A




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  ----- Forwarded Message -----
  From: Digital Altitude <support@digitalaltitude.co>
  To: "pamegbedji
  Sent: Saturday, March 18, 2017, 6:13:04 PM EDT
  Subject: [ASPIRE/Digital Altitude] Receipt

   Logo
                                                                                Invoice/Receipt
                                                                               Date         Invoice #   Due Date

                                                                           March 18, 2017    832506     03/18/2017


   Digital Altitude, LLC
   16192 Coastal Hwy
   Lewes, Delaware 19958
   United States
   1 (800) 820-7589

   TO:
   Pauline AR Amegbedji

   New York, New York
   United States

   Qty                                           Description                          Unit Price             Total
   1         RISE - $600.00 - RISE                                                          $600.00         $600.00
   1         BASE - $0.00 - BASE                                                              $0.00           $0.00
   1         3.5% Administration Fee - $21.00 - Administration Fee                           $21.00          $21.00
   Total Purchases                                                                                         $621.00

   Payments Made
   3/18/2017                    Credit Card - Approved Visa xxxxxxxxxxxx                                    $621.00
   Total Payments & Adjustments                                                                            $621.00

   Payments Due
   3/18/2017                           Current                                                                 $0.00
   Outstanding Balance                                                                                        $0.00
   Balance Due Now                                                                                            $0.00



  When paying with a credit card - your statement may read:

          DigitalAltitude.co, Digital Altitude LLC or Digital Alti Lewes
          ALW*digitalaltitude8008207589
          PYZ*Digital


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    If you have any question please contact support@digitalaltitude.co




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                                       Attachment D




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                         DECLARATION OF ARTHUR DAVID BEAMAN
                                   PURSUANT TO 28 U.S.C. § 1746

   I, Arthur David Beaman, hereby state that I have personal knowledge of the facts set forth below.

   If called as a witness, I could and would testify as follows:

           1.     I am over 21 years of age and reside in North Carolina.

           2.     I am a retired New York City police officer and I have a Ph.D. in Clinical

   Psychology.

           3.     In about September 2016, I saw a company online called Digital Altitude. I think I

   saw it first on Facebook, probably through a message from a Facebook friend. It looked like

   Digital Altitude provided training in online marketing, and that their program would enable me

   to make a lot of money.

           4.     I went to Digital Altitude’s website. After you log into that website, you’re taken

   to other web pages. My understanding from reading Digital Altitude websites was that I could

   make a seven-figure income with their online marketing system. The websites said the amount

   you would make depended on what level you were at in their training. The levels were Aspire,

   Base, Rise, Ascend, Peak, and Apex. The websites said the training was “developed by 7-figure

   digital marketers, for digital marketers.” The websites said you would make multiples of what

   you spent for training. They said if you followed the company’s instructions, you would be

   successful. They also said the more you put in, the more you would make. People online were

   saying they had made millions. I also saw a claim that you could make six figures in 90 days or

   less.

           5.     I decided to join Digital Altitude because the website made me believe that

   Digital Altitude would provide training to me in online marketing, and that I would make a lot of




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   money if I followed Digital Altitude’s marketing program. The online testimonials made it

   sound very easy to recruit other people.

            6.    On or about September 4, 2016, I made a payment of $2,057 to Digital Altitude. I

   made the payment via PayPal through Digital Altitude’s website. Attachment A is a true and

   accurate redacted copy of my receipt from PayPal. I believe that payment was for the Rise

   Level.

            7.    After I made the first payment, Digital Altitude put me in touch with a coach

   named John Lavenia. Digital Altitude’s website said that John Lavenia is an author, speaker, and

   successful coach, so I thought he would help me make money. I spoke to John several times via

   Skype. Attachment B contains a true and accurate copy of materials I used in Skype sessions

   with John.

            8.    John told me I needed to recruit other people to join Digital Altitude in order to

   make money. If you recruited someone, the company had “closers” who would call them to

   encourage them to buy. I understood that the coach would make a part of whatever I made.

            9.    John kept telling me to go to a higher level to earn more money. John told me that

   if I didn’t have the money to move to a higher level, Digital Altitude had plans where you could

   borrow the money from them and pay it back at a high interest rate. I had enough cash to pay for

   higher levels, so I did not borrow money from Digital Altitude.

            10.   I believed what John told me, so I paid enough to skip through some levels to get

   to Peak. Each level would open up new training. The training looked like it might have been

   available online for next to nothing. At each level, I went through the online training videos in

   about an hour. I kept going because I thought eventually I would start to make money, as the

   website and the coach promised.




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          11.     Attachment C is an email invoice and Order Invoice from Digital Altitude,

   showing that I paid $16,997.00 for the PEAK program and $9,997.00 for ASCEND, with a $25

   fee, for a total of $27,019.00.

          12.     Attachment D consists of payment instructions I received from Digital Altitude.

          13.      Attachment E consists of redacted documents showing a wire transfer of

   $27,025 from my account at BB&T Bank to Digital Altitude, on September 14, 2016.

          14.     On or about September 16, 2016, I electronically signed a Digital Altitude

   Member Purchase Agreement. A true and accurate copy of the agreement is attached to this

   declaration as Attachment F.

          15.     There was also a monthly payment for each level – something around $100 per

   month. The cost went higher as the level went higher. The monthly payments had to be paid or

   you couldn’t get paid.

          16.     Digital Altitude also had a daily call, for members to call into. It was mostly a lot

   of hype, telling people never to give up, to keep going. I joined the call during the first month or

   two that I was involved, but then I realized they were just working on me psychologically to stay

   optimistic and keep a positive attitude, and I stopped calling in.

          17.     Digital Altitude also provided me with other coaches. I tried doing what they told

   me to do, but it didn’t work, so I went back to John. These coaches referred me to resources that

   would send emails to people on a “buyers list.” The coaches said a certain percentage of people

   on the list would join Digital Altitude, and Digital Altitude would pay me a percentage of those

   sales. I paid about $3,000 for companies to send these emails. Only a very small percentage of

   these emails produced sales, and those were at a low level, so I did not receive any return on the

   emails. If there are sales and they don’t reach a minimum level, I would not receive a payout. I




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   never reached the minimum level to receive a payout. John said I needed to keep trying. He said

   some resources would work – that you have to keep buying and eventually it will start paying

   off.

          18.     Digital Altitude’s website promised that members at the Peak and Apex levels

   could go to training conferences in exotic places. I understood that the hotel, food, and

   presentations would be paid for by Digital Altitude. These sounded like intensive training that

   would enable me to become a master marketer. The website promised that the owners of the

   company would be at the conferences, and that participants could bring their spouses. This was

   part of the appeal of Digital Altitude when I first signed up. It made the company seem

   legitimate, and I thought my wife would enjoy going to a conference with me.

          19.     When I got to the Peak level, Digital Altitude said they didn’t have a training

   session arranged. Then after a few months, they announced one on a Caribbean island. I didn’t

   go, because I had begun to see this wasn’t what I had thought it was, I wasn’t making any

   money. I did everything they told me and I wasn’t making money.

          20.     After about three or four months in Digital Altitude’s program, it seemed to be

   skyrocketing out of control. I started to talk to other members online. One guy was a

   chiropractor; he hadn’t gotten anything out of it. It appeared to me that the company was making

   a lot of money. Everybody I talked to was paying them – then I realized nobody was making

   money except at the top. I realized Digital Altitude’s customers were not really starting a

   business – they were just marketing Digital Altitude.

          21.     I never received any money from Digital Altitude’s program. There was a low

   threshold that you had to reach in sales before making any money – I think it was around $250. I

   never reached that threshold. I never made any money.




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                             Attachment C




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                             Attachment D




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                             Attachment F




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                             Attachment G




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1                     DECLARATION OF SHANIKA BROWN
2            1.   My name is Shanika Brown. I live in the Bronx, New York. The
3    following statements are within my personal knowledge.
4            2.   I am a Hostos Community College student and am studying
5    education. I live at home with my mother, and I am 21 years old. In September
6    2016, I was looking for a way to make money online, so I could work from home
7    and earn some supplemental income while I studied.
8            3.   I did some Google searching for work at home job opportunities, and I
9    came across a website for Digital Altitude. When I went to the website, it said that
10   I could make real money online working from home.
11           4.   After I provided my name and email address, a video started playing
12   with Michael Force speaking. He said that you could sell Digital Altitude products
13   to other people and make money at home, and even get prizes like a car.
14           5.   On or about September 7, 2016, I paid $1 and signed up with Digital
15   Altitude online. A true and correct redacted copy of my debit card statement
16   showing this purchase is attached as Attachment A. Once I joined, I started
17   talking with a coach, Carlos. I would speak with him over Skype. He told me to
18   watch a series of videos with Michael Force in them. In the videos, Michael Force
19   promised that I could leverage the Digital Altitude product to make money.
20           6.   Even after watching these videos, I didn’t understand how the
21   program worked. I thought I would be selling a real product, but I didn’t know
22   what that product was.
23           7.   I kept asking how I could make money and what I would be selling.
24   Carlos told me I needed to keep watching the Michael Force videos. Then he told
25   me that the only way I could make money was to buy into the Rise level of Digital
26   Altitude. I asked if I would need to spend more money before I started earning
27   money, and Carlos told me I wouldn’t have to spend any more after paying for
28   Rise.


                                                             Shanika Brown Declaration Page 1

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1          8.     My mother lent me money so that I could pay for Rise. On or about
2    September 19, 2016, I used my debit card to pay $1,997 for Rise. A true and
3    correct redacted copy of my debit card statement showing this purchase is found in
4    Attachment A.
5          9.     I feel like Carlos pressured me to buy Rise and to sign a contract with
6    Digital Altitude. He rushed me through the process and kept asking me if I was
7    done reviewing the contract, which I signed.
8          10.    After I purchased Rise, Digital Altitude paired me with another coach,
9    Dave Kosack. He told me I had to spend even more money to start making money
10   with Digital Altitude. He said that the only way to make money was to try to get
11   other people to buy into Digital Altitude like I did. There was no product to sell.
12         11.    At this point, I didn’t have any more money to spend on Digital
13   Altitude. I started doing more web searches on Digital Altitude and learned that
14   the company was a scam. I was very angry when I discovered this. I discussed
15   this with my mother and decided to cancel my subscription and try to get a refund.
16         12.    Once I discovered Digital Altitude was a scam, I complained to my
17   coach, Dave Kosack and to the Better Business Bureau. When I complained to
18   Dave Kosack, he told me I had to contact Digital Altitude’s customer service
19   number to get a refund. Then he stopped communicating with me.
20         13.    I called Digital Altitude’s customer service number and tried to cancel
21   my membership and get a refund. They refused to give me a refund. Instead, I got
22   an email from Digital Altitude saying that they have many affiliates making money
23   by referring members into the program.
24         14.    I didn’t make any money with Digital Altitude—not one dime.
25   Digital Altitude lies to people about making money online, to get more people to
26   scam out of their money. If I had known I wouldn’t make any money with Digital
27   Altitude, I never would have joined.
28


                                                              Shanika Brown Declaration Page 2

                                                                                       EX 3
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            Attachment A




                                                                          EX 3
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    P.O. Box 15284
    Wilmington, DE 19850
                                                                                Customer service information


                                                                                Customer service: 1.800.432.1000
                                                                                TDD/TTY users only: 1.800.288.4408
                                                                                En Español: 1.800.688.6086
      SHANIKA              BROWN
                                                                                bankofamerica.com
      BRONX, NY
                                                                                Bank of America, N.A.
                                                                                P.O. Box 25118
                                                                                Tampa, FL 33622-5118




    Your BofA Core Checking
    for August 23, 2016 to September 21, 2016                               Account number:
                                                  SHANIKA           BROWN

    Account summary
    Beginning balance on August 23, 2016
    Deposits and other additions
    Withdrawals and other subtractions
    Checks
    Service fees

    Ending balance on September 21, 2016




    PULL: B CYCLE: 13 SPEC: 0 DELIVERY: P TYPE:   IMAGE: A BC: NJ                                       Page 1 of 4
                                                                                                             EX 3
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                                                        | August 23, 2016 to September 21, 2016


   IMPORTANT INFORMATION:
   BANK DEPOSIT ACCOUNTS
   Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address, email
   and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of Online
   Banking. Or, you can call our Customer Service team.

   Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
   account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
   part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
   withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
   conditions of your account relationship may be obtained at our financial centers.

   Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
   wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
   point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
   this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
   which the error or problem appeared.

       –   Tell us your name and account number.
       –   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or
           why you need more information.
       –   Tell us the dollar amount of the suspected error.

   For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
   correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
   business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
   made to your account) to do this, we will credit your account for the amount you think is in error, so that you will have use of the
   money during the time it will take to complete our investigation.

   For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
   investigation.

   Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
   errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
   unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
   after we make the statement available to you and in some cases are 30 days or less), we are not liable to you for, and you agree
   to not make a claim against us for the problems or unauthorized transactions.

   Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
   person or company, you may call us at the telephone number listed on the front of this statement to find out if the deposit was
   made as scheduled. You may also review your activity online or visit a financial center for information.

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                                                                                    Your checking account
                                                  August 23, 2016 to September 21, 2016




   Deposits and other additions
   Date       Description                                                                                   Amount




   Withdrawals and other subtractions
   Date       Description                                                                                   Amount




   09/07/16   CHECKCARD 0902 DIGITALALTITUDE.CO 800-8207589 CA 24145726250900011754714                          -1.00




   09/19/16   CHECKCARD 0918 PAYPAL *DIGITALALTI 402-935-7733 CA 24492156262894513439426                  -1,997.00




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                                        August 23, 2016 to September 21, 2016




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                             DECLARATION OF MISSY CAMPBELL
                                  PURSUANT TO 28 U.S.C. § 1746

   I, Missy Campbell, hereby state that I have personal knowledge of the facts set forth below. If

   called as a witness, I could and would testify as follows:

          1.      I am over 21 years of age and reside in Idaho.

          2.      I am a retired waitress/bartender and switchboard operator.

          3.      In about 2015 or 2016, I was looking online for ways to make some extra money

   from home, to supplement my Social Security income.

          4.      I saw a lot of videos about Digital Altitude that were very convincing. They said

   you could make money from home. Michael Force was in some of the videos. He made a lot of

   promises about how much you could make. He’s a good talker and very persuasive. The videos

   said I would have a mentor/coach available to me 24/7. Michael Force also said you could easily

   make at least a thousand dollars per week. Based on what he said, I believed that I could make

   about $500 a week with Digital Altitude’s program.

          5.      I paid for an initial membership. I think it was about $37, and then something

   additional to get into the program online. I don’t remember the exact amount.

          6.      I set up an appointment with someone who was supposed to be my mentor, but he

   was very standoffish. He told me I would need to spend about $2,000 to get further into the

   program. I couldn’t afford that. He said we could talk again so I could give the program a try,

   but I was never able to reach him again.

          7.      I sent several emails to Digital Altitude asking for my money back, within the

   time period required for cancellation. I did not get a response. I was not able to get my money

   back, even though the website said there was a money-back guarantee. I would not have even

   tried the program if there was no money-back guarantee.


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1                     DECLARATION OF RICHARD FULTON
2
3          1.     My name is Richard Fulton. I live in Texas. The following statements
4    are within my personal knowledge.
5          2.     In the summer of 2016, I became aware of a program called Digital
6    Altitude. I saw a post on Facebook, and followed a link in the post. I was taken to
7    a webpage that claimed “6 STEPS to 6-FIGURES Online in 90-Days or Less.” I
8    entered my email address on the page, and got access to the first module, called
9    “How To Make 6-Figures In 90-Days Or Less With Top Tier.”
10         3.     Digital Altitude was offering a trial membership in their “Aspire”
11   program for only one dollar. I was interested in earning money by consulting and
12   working from home, and it only cost one dollar, so I signed up for the trial.
13         4.     Once I became a member, I was assigned a coach. You can’t progress
14   without calling your coach because the online modules and materials must be
15   unlocked by your coach, manually, on the backend. The materials include videos
16   you need to watch before your coach will unlock the next modules.
17         5.     I watched these videos. They had some general information about
18   business, but I think you can get better quality materials elsewhere on the web. The
19   videos seemed geared to get you interested in Digital Altitude’s system, and the
20   information they provided was focused on working with Digital Altitude,
21   specifically. Looking back on it, “Aspire” really was an indoctrination program.
22         6.     Digital Altitude’s website, videos, and other materials explain that you
23   can make money by convincing other consumers to join Digital Altitude and buy
24   membership in its various levels. My understanding, based on the website,
25   materials, and conversations with my coaches, is that you would then get paid a
26   commission on sales of membership levels to that consumer. The higher
27   membership levels cost more to buy, and selling them yields higher commissions.
28


                                                              Richard Fulton Declaration Page 1

                                                                                       EX 5
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1    However, you only get paid commissions on sales of membership levels that you
2    have already purchased yourself.
3          7.     Digital Altitude provides different coaches for different membership
4    levels. In my experience, the coaches are high-pressure salesmen who push you to
5    buy the next membership level and to pay for “traffic,” with the exception of the
6    very first coach. My understanding is that the only way to purchase additional
7    membership levels is through your coach.
8          8.     My first coach welcomed me to Digital Altitude, and did not push me
9    to buy. My second coach, Beau Ryan, was a top-notch sales guy. My first
10   substantive call with him was scheduled in advance, and had around 10 other
11   people participating. At the time, I believed they were other consumers who had
12   signed up with Digital Altitude, like me. The call was mainly an aggressive sales
13   pitch from Beau Ryan. He used group dynamics, including asking questions to
14   people on the call to pressure everyone to pay more money. He had access to help
15   us apply for loans and tap other sources of funding so that we could pay Digital
16   Altitude more money. The sales pitch was essentially that we could make more
17   money in commissions if we purchased higher levels of membership with Digital
18   Altitude. Beau Ryan and other Digital Altitude representatives liked to use the
19   analogy of buying a franchise to sell Apple products. If you have an Apple
20   franchise that sells all of Apple’s products, but you’ve only bought a license to sell
21   iPhones, you will only make commissions on iPhone sales, and you will lose out
22   on the higher-level commissions for items like iPads and MacBooks.
23         9.     Beau Ryan gave me the hard sell to get me to pay for additional
24   Digital Altitude membership levels. He told me that paying for the additional
25   membership levels would increase the money I would make with Digital Altitude.
26   My understanding was that I was buying a license to sell trainings online, and that
27   I would be making sales to people outside the company. I believed that Digital
28   Altitude was going to help me build a real business, so I agreed.


                                                               Richard Fulton Declaration Page 2

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1          10.    On or about June 3, 2016, I paid Digital Altitude $2,057 ($1,977 cost
2    plus $60 “administrative fee”) for membership in their “Rise” and “Base” levels
3    via one charge to a Visa credit card. (It is my understanding that “Rise” normally
4    costs around $2,000 and “Base” normally costs around $600—I obtained “Base” at
5    no additional charge as part of a promotional offer.) Attached hereto as Attachment
6    A is a true and correct copy of the invoice I received from Digital Altitude for this
7    payment.
8          11.    On or about June 9, 2016, I paid Digital Altitude $27,804 ($26,794
9    cost plus $810 “administrative fee”) for membership in their “Ascend” and “Peak”
10   levels, via four separate charges to my credit cards. Attached hereto as Attachment
11   B is a true and correct copy of the invoice I received from Digital Altitude for these
12   payments.
13         12.    Digital Altitude also offers “traffic” packages that promise to direct a
14   certain number of people to your website or link online. The “TipToe” traffic
15   package costs $1,250 and promises to delivery 1,000 clicks. The description for
16   the package on Digital Altitude’s website states “This package will get you into
17   profit….” Based on this description, and communications with a Digital Altitude
18   representative, I bought two “TipToe” traffic packages, paying Digital Altitude
19   $2,250. Before I did so, I saved a copy of the Digital Altitude webpage that
20   described the traffic packages. Attached hereto as Attachment C is a true and
21   correct copy of the printout of that file. Despite the promise in the description, I
22   did not make a profit. According to Digital Altitude, these leads generated only
23   two sales of a few hundred dollars. I was paid a commission on one of those sales,
24   for a total of $153.52.
25         13.     A few months after I first joined Digital Altitude, I realized that of the
26   12 modules that are advertised as being part of the “Base” membership level,
27   numbers 7 through 12 were not available. I raised this issue with my coach and
28   submitted a formal support ticket through Digital Altitude’s system. Attached


                                                                Richard Fulton Declaration Page 3

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1    hereto as Attachment D is a true and correct copy of the ticket I submitted,
2    including Digital Altitude’s responses and my replies to them. They initially
3    claimed that all of the modules were available, but eventually admitted that
4    modules 7 through 12 were not available, and explained that those modules were
5    still “in production.”
6          14.    Digital Altitude requires its affiliates to use Digital Altitude’s own
7    marketing materials when trying to get new consumers to join. Those materials
8    claim that the “Base” membership level includes all 12 modules. Once I learned
9    that half of the modules for the “Base” membership level did not actually exist yet,
10   I shut down all my marketing efforts. I did not want to advertise something that
11   was not true. I believe that would be fraud.
12         15.    Digital Altitude asks its members to attend daily conference calls led
13   by Digital Altitude representatives. I listened to several of these calls. On the calls,
14   the Digital Altitude representatives would aggressively push members to spend
15   more money, telling us things like “go all in,” or “go all the way.” In my
16   experience, the Digital Altitude representatives on these calls are high-pressure
17   salesmen, and know how to manipulate emotions on group calls.
18         16.    Many Digital Altitude affiliates market the program on Facebook.
19   Attached hereto as Attachment E is a true and correct copy of advertisements I saw
20   on Facebook, and printed from my computer.
21         17.    Digital Altitude has a separate private Facebook group for each
22   membership level. In these groups, they make daily posts showing the dollar
23   amount of commissions that various affiliates have made that day, and
24   congratulating them. But they don’t show what the net gain was for those affiliates
25   on those sales. During the time I participated, leads brought in through my account
26   resulted in two sales, on which I earned around $150 in commissions, but I spent
27   over $2,000 on advertising to do it.
28


                                                                Richard Fulton Declaration Page 4

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            Attachment A




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            Attachment B




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            Attachment C




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            Attachment D




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            Attachment E




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1                    DECLARATION OF GAIL SUSAN GRUBER
2          1.     My name is Gail Susan Gruber. I am usually called Sue Gruber. I
3    live in Coraopolis, Pennsylvania. The following statements are within my personal
4    knowledge.
5          2.     In about August 2017, I was searching for a way to make money
6    online. I conducted a Google search and came across videos promoting Digital
7    Altitude. The videos said you could make six figures in a short amount of time.
8    Based on what I saw, I expected I could make about $1,000 or $2,000 a month.
9          3.     It only cost a small amount of money–maybe $37– to get started, so I
10   gave it a try. The first thing Digital Altitude does is put you in touch with a
11   “mentor,” which I realized later is really just a salesperson. My mentor was
12   Armando Rendon. He unlocks the “steps,” which are videos to watch. I watched
13   the videos, which showed Michael Force, who owns the company. Michael Force
14   described how buying certain types of products is the key to success. He said
15   Digital Altitude has marketing groups set up for you to do all the work for you, and
16   you have to have a certain mindset. He talked about spending money to go to
17   conferences to meet other people in the business. The videos made me believe I
18   would make money with Digital Altitude.
19         4.     After you watch the videos, you’re supposed to call them back every
20   day and give your feedback. I had several Skype conversations with Armando.
21   Some were voice conversations and some were text chats. I spoke to him roughly
22   every day for about two weeks. I asked Armando what I was going to be spending
23   on this program and he said “nothing.” But then the videos asked me to spend over
24   $2,000. Digital Altitude’s goal is to get you excited and into a certain mindset to
25   spend money. They want you to believe that by continuing with their program you
26   will make money. I continued to believe them when they said I could make money
27   with Digital Altitude.
28


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1          5.     I figured I would take a chance and spend about $2,066. I maxed out
2    my credit cards. I figured I was guaranteed to make money within 30 days and I
3    could pay back the credit card debt. Attachment A is a true and accurate redacted
4    copy of credit card and bank account records showing my payments to Digital
5    Altitude in August 2017. Attachment B is a true and accurate copy of the service
6    agreement I digitally signed with Digital Altitude, dated August 24, 2017.
7          6.     After I paid the money, I was given another mentor, named Joe
8    Kennedy. I participated in a group call via Skype with Joe and other customers.
9    Joe told us to buy a book, read a chapter, and give him feedback.
10         7.     I tried to set up a coaching session with Joe but his schedule was very
11   booked. I work during weekdays and need a mentor who is available in the
12   evenings and on weekends. Joe was not available during my free time. I called and
13   spoke to someone who said she was Joe’s assistant. She said I should call Joe. At
14   that point I was frustrated, and contacted Digital Altitude Customer Service to ask
15   for a different mentor.
16         8.     It took Customer Service a while to get back to me, and by that time, I
17   had decided to quit Digital Altitude, because something didn’t seem right. The
18   longer I waited, the more frightened I became that something was going wrong. I
19   had not received the coaching and support they said I would, and they had not
20   taught me how to start an online business like they had promised.
21         9.     On about August 29, 2017, I emailed Customer Service and asked to
22   cancel and get my money back. They refused to give me a refund, saying I had
23   missed the 72-hour window for a refund. I never even saw anything about the 72-
24   hour policy in the contract I signed. Nobody told me about it verbally. Attachment
25   C is a true and accurate redacted copy of emails I exchanged with Digital Altitude
26   on August 29, 2017.
27         10.    Once I decided to quit Digital Altitude, I was harassed by both
28   mentors, Armando and Joe. They tried to get me to change my mind about quitting.


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                                        Attachment A




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                           Attachment B




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       WKH6LWHRU6HUYLFHLQFOXGLQJZLWKRXWOLPLWDWLRQLI&RPSDQ\EHOLHYHVLQRXUVROHDQGDEVROXWHGLVFUHWLRQ
       WKDW0HPEHUKDVEUHDFKHGDQ\WHUPRIWKLV$JUHHPHQW0HPEHUDFNQRZOHGJHVDQGDJUHHVWKDWDOO
       VXVSHQVLRQVDQGWHUPLQDWLRQVVKDOOEHPDGHLQ&RPSDQ\ VVROHGLVFUHWLRQDQGWKDW&RPSDQ\VKDOOQRWEH
       OLDEOHWR0HPEHURUDQ\RWKHUSDUW\IRUVDLGVXVSHQVLRQDQGWHUPLQDWLRQ
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       8SRQWHUPLQDWLRQ0HPEHUOLFHQVHWRXVHWKH6LWH&RQWHQWRU6HUYLFHDQGHYHU\WKLQJDFFHVVLEOHE\RU
       WKURXJKWKH6LWH&RQWHQWRU6HUYLFHVKDOOWHUPLQDWHDQGWKHUHPDLQGHURIWKLV$JUHHPHQWVKDOOVXUYLYH
       LQGHILQLWHO\XQOHVVDQGXQWLOZHFKRVHWRWHUPLQDWHLW
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       8SRQWHUPLQDWLRQRIDQ\SDUWRIWKLV$JUHHPHQWIRUDQ\UHDVRQZHVKDOOPDNHUHDVRQDEOHHIIRUWVWRHQVXUH
       WKDW\RXU8VHU&RQWHQWLVLQDFFHVVLEOHDQGFHDVHXVHRILWKRZHYHU0HPEHUDFNQRZOHGJHVDQGDJUHHV
       WKDW L FDFKLQJRIFRSLHVRIRUUHIHUHQFHVWRWKH8VHU&RQWHQWPD\QRWEHLPPHGLDWHO\UHPRYHGRU
       SRVVLEOHWRUHPRYH LL VXFKUHPRYHG8VHU&RQWHQWPD\FRQWLQXHLQEDFNXSV QRWDYDLODEOHWRRWKHUV IRUD
       UHODWLYHO\VKRUWSHULRGRIWLPHDQGVXFKUHPRYHG8VHU&RQWHQWPD\FRQWLQXHWREHDYDLODEOH DQGVWRUHGRQ
       RXUVHUYHUV WKURXJKWKHDFFRXQWVRIRWKHUSURJUDPV
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       &RPSDQ\UHVSHFWV0HPEHUSULYDF\DQGSHUPLWV0HPEHUWRFRQWUROWKHWUHDWPHQWRI0HPEHU¶VSHUVRQDO
       LQIRUPDWLRQ$FRPSOHWHVWDWHPHQWRI&RPSDQ\ VFXUUHQWSULYDF\SROLF\ WKH3ULYDF\3ROLF\ FDQEHIRXQG
       KHUHKWWSZZZGLJLWDODOWLWXGHFRSULYDF\SROLF\&RPSDQ\ V3ULYDF\3ROLF\LVH[SUHVVO\LQFRUSRUDWHGLQWR
       WKLV$JUHHPHQWE\WKLVUHIHUHQFH:KHQ0HPEHULVUHTXLUHGWRVXEPLWLQIRUPDWLRQWRXVHRUDFFHVVWKH
       6LWH&RQWHQWRU6HUYLFH0HPEHUPXVWFRPSOHWHWKHUHJLVWUDWLRQSURFHVVE\SURYLGLQJWKHLQIRUPDWLRQ
       UHTXHVWHGRQWKHIRUP0HPEHUDJUHHVWRWKHWHUPVLQ&RPSDQ\ V3ULYDF\3ROLF\UHJDUGLQJWKHXVHRIWKH
       LQIRUPDWLRQVXEPLWWHG
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       'LJLWDO$OWLWXGHUHVHUYHVWKHULJKWWRDPHQGWKLV$JUHHPHQWLQLWVVROHDQGDEVROXWHGLVFUHWLRQ%\HQWHULQJ
       LQWRWKH0HPEHUVKLS$JUHHPHQW0HPEHUDJUHHVWRDELGHE\DOODPHQGPHQWVRUPRGLILFDWLRQVWKDW'LJLWDO
       $OWLWXGHHOHFWVWRPDNH$PHQGPHQWVVKDOOEHHIIHFWLYHGD\VDIWHUSXEOLFDWLRQRIQRWLFHWKDWWKH
       $JUHHPHQWKDVEHHQPRGLILHG$PHQGPHQWVVKDOOQRWDSSO\UHWURDFWLYHO\WRFRQGXFWWKDWRFFXUUHGSULRUWR
       WKHHIIHFWLYHGDWHRIWKHDPHQGPHQW1RWLILFDWLRQRIDPHQGPHQWVVKDOOEHSXEOLVKHGE\RQHRUPRUHRIWKH
       IROORZLQJPHWKRGV D SRVWLQJRQWKH&RPSDQ\¶VRIILFLDOZHEVLWH E HOHFWURQLFPDLO HPDLO  F SRVWLQJLQ
       0HPEHUVKLSVLWH G LQFOXVLRQLQ&RPSDQ\SHULRGLFDOVRU H VSHFLDOPDLOLQJV,QWKHHYHQWRIVXEVWDQWLYH
       FKDQJHV0HPEHUZLOOEHUHTXLUHGWRDIILUPDWLYHO\DVVHQWWRWKHFKDQJHV)RURWKHUFKDQJHVWKH

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       FRQWLQXDWLRQRID0HPEHU¶V'LJLWDO$OWLWXGHPHPEHUVKLSWKHDFFHSWDQFHRIDQ\EHQHILWVXQGHUWKH
       $JUHHPHQWFRQVWLWXWHVDFFHSWDQFHRIWKHDPHQGPHQWV
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       &RPSDQ\RZQVDQGOLFHQVHVDOOLQWHOOHFWXDOSURSHUW\DQGRWKHUULJKWVWLWOHDQGLQWHUHVWLQDQGWRWKH6LWH
       &RQWHQWDQG6HUYLFHDQGWKHPDWHULDOVDFFHVVLEOHRQWKH6LWHDQG6HUYLFHH[FHSWDVH[SUHVVO\SURYLGHG
       IRULQWKH$JUHHPHQW:LWKRXWOLPLWDWLRQ&RPSDQ\RZQVWKHWUDGHPDUNVFRS\ULJKWVDQGFHUWDLQWHFKQRORJ\
       XVHGLQPDNLQJWKH6LWHLWV&RQWHQWDQG6HUYLFHDYDLODEOH([FHSWDVVSHFLILFDOO\DOORZHGLQWKLV
       $JUHHPHQWWKHFRS\LQJUHGLVWULEXWLRQXVHRUSXEOLFDWLRQE\\RXRIDQ\&RQWHQWRU6HUYLFHLVVWULFWO\
       SURKLELWHG:HJUDQW0HPEHUDOLPLWHGUHYRFDEOHOLFHQVHWRDFFHVVDQGXVHWKH6LWH&RQWHQWDQGRXU
       6HUYLFHIRULWVLQWHQGHGSXUSRVHVVXEMHFWWR0HPEHUFRPSOLDQFHZLWKWKLV$JUHHPHQWDQG&RPSDQ\
       3ROLFLHVDQG3URFHGXUHV7KHUHYRFDEOHOLFHQVHGRHVQRWLQFOXGHWKHULJKWWRFROOHFWRUXVHLQIRUPDWLRQ
       FRQWDLQHGRQWKH6LWHRUWKURXJKWKH6HUYLFHIRUSXUSRVHVWKDW&RPSDQ\SURKLELWVRUWRFRPSHWHZLWK
       &RPSDQ\1RRZQHUVKLSRURWKHULQWHUHVWRURWKHUOLFHQVHLQRUWRDQ\SDWHQWFRS\ULJKWWUDGHPDUNWUDGH
       VHFUHWDQGRWKHULQWHOOHFWXDOSURSHUW\ULJKWRUWRWKH&RQWHQWLVEHLQJJUDQWHGDVVLJQHGRUWUDQVIHUUHGLQWKLV
       $JUHHPHQWRUE\UHDVRQRI\RXUDFFHVVWRDQGXVHRIWKH6LWH&RQWHQWRU6HUYLFH,I0HPEHUXVHVWKH
       6LWHRURXU6HUYLFHLQDPDQQHUWKDWH[FHHGVWKHVFRSHRIWKLVOLFHQVHRUEUHDFKHVDQ\UHOHYDQWDJUHHPHQW
       0HPEHU¶VOLFHQVHVKDOOWHUPLQDWHLPPHGLDWHO\
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       )RUWKHSXUSRVHVRIWKLV$JUHHPHQW&RQILGHQWLDO,QIRUPDWLRQVKDOOEHGHHPHGWRLQFOXGHDOOWKH
       LQIRUPDWLRQDQGPDWHULDOVWKDW L LILQZULWWHQIRUPDWLVPDUNHGDVFRQILGHQWLDORU LL LIGLVFORVHGYHUEDOO\LV
       QRWHGDVFRQILGHQWLDODWWLPHRIGLVFORVXUHRU LLL LQWKHDEVHQFHRIHLWKHU L RU LL LVLQIRUPDWLRQZKLFKD
       UHDVRQDEOHSDUW\ZRXOGGHHPWREHQRQSXEOLFLQIRUPDWLRQDQGFRQILGHQWLDOLQFOXGLQJZLWKRXWOLPLWDWLRQDOO
       LQIRUPDWLRQSURYLGHGRQRUWKURXJKWKH6LWHRU6HUYLFHWUDGHVHFUHWVLQYHQWLRQVUHVHDUFKPHWKRGVDQG
       SURMHFWVPHWKRGVRIFRPSLOLQJLQIRUPDWLRQPHWKRGVRIFUHDWLQJGDWDEDVHGDWDSURFHVVLQJSURJUDPV
       VRIWZDUHFRPSXWHUPRGHOVVRXUFHDQGREMHFWFRGHVSURGXFWIRUPXODWLRQVVWUDWHJLHVDQGSODQVIRUIXWXUH
       EXVLQHVVSURGXFWDQGVHUYLFHGHYHORSPHQWDQGLGHDVSRWHQWLDODFTXLVLWLRQVRUGLYHVWLWXUHVPDUNHWLQJ
       LGHDVILQDQFLDOLQIRUPDWLRQLQFOXGLQJZLWKUHVSHFWWRFRVWVFRPPLVVLRQVIHHVSURILWVDQGVDOHVPDLOLQJ
       OLVWVLQIRUPDWLRQFRQFHUQLQJRXUDIILOLDWHVDQGFXVWRPHUVSRWHQWLDODIILOLDWHVDQGFXVWRPHUVDQGVXSSOLHUV
       DQGHPSOR\HHLQIRUPDWLRQLQFOXGLQJWKHLUUHVSHFWLYHVDODULHVERQXVHVEHQHILWVTXDOLILFDWLRQVDELOLWLHVDQG
       FRQWDFWLQIRUPDWLRQ
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       0HPEHUDFNQRZOHGJHVDQGDJUHHVWKDWWKHQDWXUHRIWKH&RQILGHQWLDO,QIRUPDWLRQWRZKLFK0HPEHUKDV
       DQGZLOOFRQWLQXHWRKDYHDFFHVVWRGHULYHVYDOXHIURPWKHIDFWWKDWLWLVQRWJHQHUDOO\NQRZQDQGXVHGE\
       RWKHUVLQWKHKLJKO\FRPSHWLWLYHLQWHUQDWLRQDOLQGXVWU\LQZKLFK'LJLWDO$OWLWXGHFRPSHWHV
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       0HPEHUDFNQRZOHGJHVWKDW0HPEHULVUHFHLYLQJWKH&RQILGHQWLDO,QIRUPDWLRQLQFRQILGHQFHDQGZLOOQRW
       SXEOLVKFRS\RUGLVFORVHDQ\&RQILGHQWLDO,QIRUPDWLRQZLWKRXWSULRUZULWWHQFRQVHQWIURP&RPSDQ\0HPEHU
       IXUWKHUDJUHHVWKDW0HPEHUVKDOOQRWDWWHPSWWRUHYHUVHHQJLQHHUGHFRPSLOHRUWU\WRDVFHUWDLQWKHVRXUFH
       FRGHWRRXUVRIWZDUHRUDQ\RWKHUVRIWZDUHVXSSOLHGKHUHXQGHU
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       0HPEHUDJUHHVWKDWDOORULJLQDOVDQGDQ\FRSLHVRIWKH&RQILGHQWLDO,QIRUPDWLRQUHPDLQWKHSURSHUW\RI
       &RPSDQ\0HPEHUVKDOOUHSURGXFHDOOFRS\ULJKWDQGRWKHUSURSULHWDU\QRWLFHVLIDQ\LQWKHVDPHIRUPWKDW
       WKH\DSSHDURQDOOWKHPDWHULDOVSURYLGHGE\XVRQDOOSHUPLWWHGFRSLHVRIWKH&RQILGHQWLDO,QIRUPDWLRQ
       PDGHE\0HPEHU0HPEHUDJUHHVWRUHWXUQDOORULJLQDOVDQGFRSLHVRIDOO&RQILGHQWLDO,QIRUPDWLRQLQ
       SRVVHVVLRQRUFRQWUROWRXVXSRQUHTXHVW
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       0HPEHUPD\RQO\XVHWKH6LWH&RQWHQWDQG6HUYLFHWRORJLQWRWKH0HPEHUVDUHDDVH[SUHVVO\SHUPLWWHG
       LQZULWLQJE\XV0HPEHUPD\QRWFDXVHKDUPWRWKH6LWHRU6HUYLFH6SHFLILFDOO\EXWQRWE\ZD\RI
       OLPLWDWLRQ0HPEHUPD\QRW L LQWHUIHUHZLWKWKH6LWH&RQWHQWRU6HUYLFHE\XVLQJYLUXVHVSURJUDPVRU
       WHFKQRORJ\GHVLJQHGWRGLVUXSWRUGDPDJHDQ\VRIWZDUHRUKDUGZDUHRUZKLFKDWWHPSWVWRDVVHVVWKH

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       YXOQHUDELOLW\RIRUDFWXDOO\YLRODWHVDQ\VHFXULW\IHDWXUH LL DFFHVVDQ\FRQWHQWRUGDWDQRWLQWHQGHGIRU
       \RXRUORJLQWRDQDFFRXQWRUVHUYHUWKDW\RXDUHQRWDXWKRUL]HGWRDFFHVV LLL PRGLI\FUHDWHGHULYDWLYH
       ZRUNVUHYHUVHHQJLQHHUGHFRPSLOHRUGLVDVVHPEOHDQ\WHFKQRORJ\XVHGWRSURYLGHWKH6LWHRURXU6HUYLFH
         LY XVHDURERWVSLGHURURWKHUGHYLFHRUSURFHVVWRPRQLWRUWKHDFWLYLW\RQRUFRS\SDJHVIURPWKH6LWHRU
       RXU6HUYLFHH[FHSWLQWKHRSHUDWLRQRUXVHRIDQ,QWHUQHWVHDUFKHQJLQHKLWFRXQWHUVRUVLPLODU
       WHFKQRORJ\ Y FROOHFWHOHFWURQLFPDLODGGUHVVHVRURWKHULQIRUPDWLRQIURPWKLUGSDUWLHVE\XVLQJWKH6LWHRU
       RXU6HUYLFH YL LPSHUVRQDWHDQRWKHUSHUVRQRUHQWLW\ YLL HQJDJHLQDQ\DFWLYLW\WKDWLQWHUIHUHVZLWK
       DQRWKHUXVHU VDELOLW\WRXVHRUHQMR\WKH6LWHRUFRQWHQWRURXU6HUYLFH YLLL DVVLVWRUHQFRXUDJHDQ\WKLUG
       SDUW\LQHQJDJLQJLQDQ\DFWLYLW\SURKLELWHGE\WKLV$JUHHPHQW L[ FREUDQGWKH6LWHRUFRQWHQWRURXU
       6HUYLFH [ IUDPHWKH6LWHRU6HUYLFH [L K\SHUOLQNWRWKH6LWHRU6HUYLFHZLWKRXWWKHH[SUHVVSULRUZULWWHQ
       SHUPLVVLRQRIDQDXWKRUL]HGUHSUHVHQWDWLYHRI&RPSDQ\ [LL XVHWKH6LWH&RQWHQWRU6HUYLFHLQZKROHRU
       LQSDUWIRUDQ\SXUSRVHWKDWLVXQODZIXOLPPRUDORUSURKLELWHGE\WKLV$JUHHPHQWRUDQ\DSSOLFDEOHORFDO
       VWDWHRUIHGHUDOODZUXOHRUUHJXODWLRQ [LLL XVHWKH6LWH&RQWHQWRU6HUYLFHLQDQ\PDQQHUWKDWFRXOG
       GDPDJHGLVDEOHRYHUEXUGHQRULPSDLUWKH6LWHRU6HUYLFH [LY FLUFXPYHQWRUDWWHPSWWRFLUFXPYHQWDQ\
       VHFXULW\IHDWXUHRIWKH6LWH [Y XSORDGHPDLORURWKHUZLVHWUDQVPLWWRRUWKURXJKWKH6LWHRU6HUYLFHDQ\
       DGYHUWLVLQJSURPRWLRQDORURWKHUXQDXWKRUL]HGFRPPXQLFDWLRQLQFOXGLQJZLWKRXWOLPLWDWLRQMXQNPDLO
       VXUYH\VXQVROLFLWHGHPDLOVSDPFKDLQOHWWHUVRUS\UDPLGVFKHPHVRU [YL LQFRUSRUDWHGDWDIURP
       DQ\RIRXUGDWDEDVHVLQWRDQ\HPDLOVRURWKHUZKLWHSDJHVSURGXFWVRUVHUYLFHVZKHWKHUEURZVHUEDVHG
       EDVHGRQSURSULHWDU\FOLHQWVLGHDSSOLFDWLRQVRUZHEEDVHGZLWKRXWRXUSULRUH[SUHVVDQGZULWWHQFRQVHQW
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       %\SXUFKDVLQJDQ\RIRXUSURGXFWVRUVHUYLFHV0HPEHUDJUHHVWKDW0HPEHU¶VXVHRIWKHSURGXFWRUVHUYLFH
       LVOLPLWHGE\WKLV$JUHHPHQWDVZHOO
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       0HPEHUVKLSDUHDVRIWKH6LWHDUHSDVVZRUGUHVWULFWHGWRUHJLVWHUHGXVHUV,I0HPEHUKDVUHJLVWHUHGDVDQ
       DXWKRUL]HGXVHUWRJDLQDFFHVVWRWKHVHSDVVZRUGSURWHFWHGDUHDV0HPEHUDJUHHVWKDW\RXDUHHQWLUHO\
       UHVSRQVLEOHIRUPDLQWDLQLQJWKHFRQILGHQWLDOLW\RI\RXUSDVVZRUGDQGDJUHHWRQRWLI\XVLIWKHSDVVZRUGLV
       ORVWVWROHQGLVFORVHGWRDQXQDXWKRUL]HGWKLUGSDUW\RURWKHUZLVHPD\KDYHEHHQFRPSURPLVHG0HPEHU
       DJUHHVWKDW\RXDUHHQWLUHO\UHVSRQVLEOHIRUDQ\DQGDOODFWLYLWLHVWKDWRFFXUXQGHU\RXUDFFRXQWLQFOXGLQJ
       DQ\IHHVWKDWPD\EHLQFXUUHGXQGHU0HPEHUSDVVZRUGSURWHFWHGDFFRXQWZKHWKHURUQRW0HPEHULVWKH
       LQGLYLGXDOZKRXQGHUWDNHVVXFKDFWLYLWLHV0HPEHUDJUHHVWRLPPHGLDWHO\QRWLI\XVRIDQ\XQDXWKRUL]HGXVH
       RI0HPEHUDFFRXQWRUDQ\RWKHUEUHDFKRIVHFXULW\LQUHODWLRQWR0HPEHUSDVVZRUGRUWKH6LWHWKDWLV
       NQRZQWR0HPEHU
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       :KHQDFFHVVLQJWKH6LWHRUXVLQJWKH&RQWHQWRU6HUYLFH0HPEHUDJUHHVWRREH\WKHODZDQGWRUHVSHFW
       WKHLQWHOOHFWXDOSURSHUW\ULJKWVRIRWKHUV0HPEHUVXVHRIWKH6HUYLFH&RQWHQWDQG6LWHLVDWDOOWLPHV
       JRYHUQHGE\DQGVXEMHFWWRODZVUHJDUGLQJLQWHOOHFWXDOSURSHUW\RZQHUVKLS0HPEHUDJUHHVQRWWRXSORDG
       GRZQORDGGLVSOD\SHUIRUPWUDQVPLWRURWKHUZLVHGLVWULEXWHDQ\LQIRUPDWLRQRUFRQWHQWLQYLRODWLRQRIDQ\
       WKLUGSDUW\ VFRS\ULJKWVWUDGHPDUNVRURWKHULQWHOOHFWXDOSURSHUW\RUSURSULHWDU\ULJKWV0HPEHUDJUHHVWR
       DELGHE\ODZVUHJDUGLQJLQWHOOHFWXDOSURSHUW\RZQHUVKLSDQGXVHDQG0HPEHUVKDOOEHVROHO\UHVSRQVLEOH
       IRUDQ\YLRODWLRQVRIDQ\UHOHYDQWODZVDQGIRUDQ\LQIULQJHPHQWVRIWKLUGSDUW\ULJKWVFDXVHGE\DQ\FRQWHQW
       0HPEHUSURYLGHVRUWUDQVPLWVRUWKDWLVSURYLGHGRUWUDQVPLWWHGXVLQJ0HPEHUVXVHUQDPH7KHEXUGHQRI
       SURYLQJWKDWDQ\FRQWHQWGRHVQRWYLRODWHDQ\ODZVRUWKLUGSDUW\ULJKWVUHVWVVROHO\ZLWK0HPEHU
       $OOWUDGHPDUNVVHUYLFHPDUNVWUDGHQDPHVDQGFRS\ULJKWVGLVSOD\HGRQWKH6LWHRULQWKH&RQWHQWDUH
       SURSULHWDU\WRXVRUWKHLUUHVSHFWLYHRZQHUV0HPEHUDFTXLUHVQRULJKWVRUOLFHQVHVLQRUWRDQ\WUDGHPDUNV
       VHUYLFHPDUNVWUDGHQDPHVRUFRS\ULJKWVGLVSOD\HGRQWKH6LWH0HPEHUPD\QRWUHSURGXFHUHSXEOLVK
       GLVWULEXWHDVVLJQVXEOLFHQVHUHWUDQVPLWVHOORUSUHSDUHGHULYDWLYHZRUNVRIWKH6LWHRU&RQWHQWRUUHVHOORU
       PDNHRXU6HUYLFHDYDLODEOHWRRWKHUV$OOULJKWVLQDQGWRWKH6LWH6HUYLFHDQGRXU&RQWHQWQRWH[SUHVVO\
       JUDQWHGLQWKLV$JUHHPHQWUHPDLQLQXVRULQRXUOLFHQVRUV
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       &RPSDQ\UHVHUYHVWKHULJKWWRVXVSHQGRUWHUPLQDWH\RXUXVHRIDQ\6HUYLFH&RQWHQWRU6LWH7RHQVXUH
       WKDW&RPSDQ\SURYLGHVDKLJKTXDOLW\H[SHULHQFHIRU\RXDQGIRURWKHUXVHUVRIWKH6LWH&RQWHQWDQG

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       6HUYLFH\RXDJUHHWKDW&RPSDQ\RULWVUHSUHVHQWDWLYHVPD\DFFHVV\RXUDFFRXQWDQGUHFRUGVRQD
       FDVHE\FDVHEDVLVWRLQYHVWLJDWHFRPSODLQWVRUDOOHJDWLRQVRIDEXVHLQIULQJHPHQWRIWKLUGSDUW\ULJKWVRU
       RWKHUXQDXWKRUL]HGXVHVRIWKH6LWH&RQWHQWRU6HUYLFH&RPSDQ\GRHVQRWLQWHQGWRGLVFORVHWKHH[LVWHQFH
       RURFFXUUHQFHRIVXFKDQLQYHVWLJDWLRQXQOHVVUHTXLUHGE\ODZEXW&RPSDQ\UHVHUYHVWKHULJKWWRVXVSHQG
       RUWHUPLQDWH0HPEHU¶VDFFRXQWRUDFFHVVWRWKH6LWHLPPHGLDWHO\ZLWKRUZLWKRXWSULRUQRWLFHWR0HPEHU
       DQGZLWKRXWOLDELOLW\WR0HPEHULI&RPSDQ\EHOLHYHVWKDW0HPEHUKDVYLRODWHGDQ\RIWKLV$JUHHPHQW
       IXUQLVKHG&RPSDQ\ZLWKIDOVHRUPLVOHDGLQJLQIRUPDWLRQRULQWHUIHUHGZLWKXVHRIWKH6LWH&RQWHQWRUWKH
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       FRQVXOWZLWKWKHLURZQWD[DFFRXQWDQWWD[DWWRUQH\RURWKHUWD[SURIHVVLRQDO
       (;&(37$6(;35(66/<0$'(%<7+(&203$1<,1:5,7,1*7+(&203$1<0$.(612
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       352'8&76$1'6(59,&(62)7+(&203$1<$5(3529,'('³$6,6´³:,7+$//)$8/76´$1'
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       '(&,6,210$'(25$&7,217$.(1%<0(0%(5,15(/,$1&(83217+(&217(1725285
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       $5,6,1*287255(68/7,1*)520/2662)<285'$7$25,1)250$7,21:+(7+(5%$6('
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       7KHLQFRPHGLVFODLPHUSRVWHGRQRXUZHEVLWHDWKWWSZZZGLJLWDODOWLWXGHFRGLVFODLPHULVLQFRUSRUDWHG
       KHUHLQE\UHIHUHQFHDQG0HPEHUKHUHE\UHSUHVHQWVWKDW0HPEHUKDVUHDGDQGXQGHUVWDQGLW&RPSDQ\LWV
       PDQDJHUVRUPHPEHUVPD\UHFHLYHDQDIILOLDWHFRPPLVVLRQZKHQ0HPEHUSXUFKDVHVVRPHRIWKH
       SURGXFWVRUVHUYLFHVWKDWZHUHFRPPHQGRQRXU6LWHRU6HUYLFH%\HQWHULQJLQWRWKLV$JUHHPHQW0HPEHU
       DFNQRZOHGJHVWKDW0HPEHUKDVEHHQLQIRUPHGRIVXFKSD\PHQWVFRQVHQWWRSD\PHQWVRIDIILOLDWH
       FRPPLVVLRQVDQGWKDWVXFKSD\PHQWVDUHIDLUDQGUHDVRQDEOH
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       &RPSDQ\KDVQRFRQWURORYHUDQGQROLDELOLW\IRUDQ\WKLUGSDUW\VLWHVRUPDWHULDOV 7KLUG3DUW\6LWHV 
       &RPSDQ\ZRUNVZLWKDQXPEHURISDUWQHUVDQGDIILOLDWHVZKRVH,QWHUQHWVLWHVPD\EHOLQNHGZLWKWKH6LWH
       %HFDXVH&RPSDQ\KDVQRFRQWURORYHUWKHFRQWHQWDQGSHUIRUPDQFHRIWKHVH7KLUG3DUW\6LWHV&RPSDQ\
       PDNHVQRJXDUDQWHHVDERXWWKHDFFXUDF\FXUUHQF\FRQWHQWRUTXDOLW\RIWKHLQIRUPDWLRQSURYLGHGE\VXFK
       7KLUG3DUW\6LWHVDQG&RPSDQ\DVVXPHVQRUHVSRQVLELOLW\IRUXQLQWHQGHGREMHFWLRQDEOHLQDFFXUDWH
       PLVOHDGLQJRUXQODZIXOFRQWHQWWKDWPD\UHVLGHRQWKRVH7KLUG3DUW\6LWHV6LPLODUO\IURPWLPHWRWLPHLQ
       FRQQHFWLRQZLWK\RXUXVHRIWKH6LWH0HPEHUPD\KDYHDFFHVVWRFRQWHQWLWHPV LQFOXGLQJEXWQRWOLPLWHG
       WRZHEVLWHV WKDWDUHRZQHGE\WKLUGSDUWLHV0HPEHUDFNQRZOHGJHVDQGDJUHHVWKDW&RPSDQ\PDNHVQR
       JXDUDQWHHVDERXWDQGDVVXPHVQRUHVSRQVLELOLW\IRUWKHDFFXUDF\FXUUHQF\FRQWHQWRUTXDOLW\RI7KLUG
       3DUW\6LWHVDQGWKDWXQOHVVH[SUHVVO\SURYLGHGRWKHUZLVHWKLV$JUHHPHQWVKDOOJRYHUQ\RXUXVHRIDQ\
       DQGDOO7KLUG3DUW\6LWHV
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       0HPEHUVOLQNLQJWRVXFK7KLUG3DUW\6LWHVLVDW\RXURZQULVN:HGRQRWLQYHVWLJDWHPRQLWRURUFKHFN
       VXFK7KLUG3DUW\6LWHVIRUDFFXUDF\RUFRPSOHWHQHVV:HDUHQRWUHVSRQVLEOHIRUWKHDYDLODELOLW\RIWKHVH
       7KLUG3DUW\6LWHVQRUDUHZHUHVSRQVLEOHIRUWKHDHVWKHWLFVDSSHDOVXLWDELOLW\WRWDVWHRUVXEMHFWLYHTXDOLW\
       RILQIRUPDWLRQDOFRQWHQWDGYHUWLVLQJSURGXFWVRURWKHUPDWHULDOVPDGHDYDLODEOHRQRUWKURXJKVXFK7KLUG
       3DUW\6LWHV:HDUHSURYLGLQJWKHVHOLQNVWR0HPEHURQO\DVDFRQYHQLHQFHDQGPD\GLVFRQWLQXHSURYLGLQJ
       VXFKOLQNVDWDQ\WLPHLQRXUVROHGLVFUHWLRQZLWKRXWQRWLFHWR0HPEHU1RHQGRUVHPHQWRIDQ\WKLUGSDUW\
       FRQWHQWLQIRUPDWLRQGDWDRSLQLRQVDGYLFHVWDWHPHQWVJRRGVVHUYLFHVRUSURGXFWVLVH[SUHVVHGRU
       LPSOLHGE\DQ\LQIRUPDWLRQPDWHULDORUFRQWHQWRIDQ\7KLUG3DUW\6LWHFRQWDLQHGLQUHIHUUHGWRLQFOXGHGRQ
       RUOLQNHGIURPRUWRWKH6LWH8QGHUQRFLUFXPVWDQFHVVKDOOZHRUDQ\DIILOLDWHGSURYLGHUVEHKHOG
       UHVSRQVLEOHRUOLDEOHGLUHFWO\RULQGLUHFWO\IRUDQ\ORVVLQMXU\RUGDPDJHFDXVHGRUDOOHJHGWRKDYHEHHQ
       FDXVHGWR0HPEHULQFRQQHFWLRQZLWKWKHXVHRIRUUHOLDQFHRQDQ\FRQWHQWLQIRUPDWLRQGDWDRSLQLRQV
       DGYLFHVWDWHPHQWVJRRGVVHUYLFHVRUSURGXFWVDYDLODEOHRQVXFK7KLUG3DUW\6LWHV0HPEHUVKRXOGGLUHFW
       DQ\FRQFHUQVWRWKHUHVSHFWLYH7KLUG3DUW\6LWH VDGPLQLVWUDWRURUZHEPDVWHU$Q\OLQNVWR7KLUG3DUW\6LWHV

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       GRQRWLPSO\WKDWZHDUHOHJDOO\DXWKRUL]HGWRXVHDQ\WUDGHPDUNWUDGHQDPHORJRRUFRS\ULJKWV\PERO
       GLVSOD\HGLQRUDFFHVVLEOHWKURXJKVXFKOLQNVRUWKDWDQ\OLQNHG7KLUG3DUW\6LWHLVDXWKRUL]HGWRXVHDQ\
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       $OOQRWLFHVUHTXLUHGRUSHUPLWWHGWREHJLYHQXQGHUWKLV$JUHHPHQWZLOOEHLQZULWLQJDQGGHOLYHUHGWRWKH
       RWKHUSDUW\E\DQ\RIWKHIROORZLQJPHWKRGV L 860DLO LL RYHUQLJKWFRXULHURU LLL HOHFWURQLFPDLO,I\RX
       JLYHQRWLFHWRXV\RXPXVWXVHWKHIROORZLQJDGGUHVV'LJLWDO$OWLWXGH//&&RDVWDO+Z\/HZHV
       '(,I&RPSDQ\SURYLGHVQRWLFHWR\RX&RPSDQ\ZLOOXVHWKHFRQWDFWLQIRUPDWLRQSURYLGHE\\RXWR
       XV$OOQRWLFHVZLOOEHGHHPHGUHFHLYHGDVIROORZV $ LIGHOLYHU\E\86PDLOVHYHQEXVLQHVVGD\VDIWHU
       GLVSDWFK % LIE\RYHUQLJKWFRXULHURQWKHGDWHUHFHLSWLVFRQILUPHGE\VXFKFRXULHUVHUYLFHRU & LIE\
       HOHFWURQLFPDLOKRXUVDIWHUWKHPHVVDJHZDVVHQWLIQRV\VWHPHUURURURWKHUQRWLFHRIQRQGHOLYHU\LV
       JHQHUDWHG,IDSSOLFDEOHODZUHTXLUHVWKDWDJLYHQFRPPXQLFDWLRQEHLQZULWLQJ\RXDJUHHWKDWHPDLO
       FRPPXQLFDWLRQZLOOVDWLVI\WKLVUHTXLUHPHQW
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       0HPEHUDJUHHVWRLQGHPQLI\GHIHQGDQGKROG&RPSDQ\LWVPDQDJHUVPHPEHUVRIILFHUVGLUHFWRUV
       HPSOR\HHVFRQVXOWDQWVDJHQWVDQGUHSUHVHQWDWLYHVKDUPOHVVIURPDQGDJDLQVWDQ\DQGDOODFWLRQV
       FODLPVGHPDQGVSURFHHGLQJVOLDELOLWLHVGDPDJHVMXGJPHQWVVHWWOHPHQWVILQHVSHQDOWLHVFRVWVDQG
       H[SHQVHVLQFOXGLQJDWWRUQH\ VIHHVDQGUHODWHGFRVWVZKLFK L DULVHRULQSDUWIURP\RXUDFW V RU
       RPLVVLRQ V  LL DULVHIURPRUDUHUHODWHGWRDEUHDFK0HPEHUKDVDQ\H[SUHVVZDUUDQW\FRQWDLQHGKHUHLQ
       RU LLL IDLOXUHWRFRPSO\ZLWKWKLV$JUHHPHQW:HKDYHQRGXW\WRUHLPEXUVHGHIHQGLQGHPQLI\RUKROG
       0HPEHUKDUPOHVVUHVXOWLQJIURPUHODWLQJWRRUDULVLQJRXWRIWKLV$JUHHPHQWWKH6LWHRU0HPEHUVDFFHVV
       WRRUXVHRIWKH6LWHRU&RQWHQW
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       ,IDQDFWLRQLVEURXJKWDJDLQVW&RPSDQ\LQUHVSHFWWRDQ\DOOHJDWLRQIRUZKLFKLQGHPQLW\PD\EHVRXJKW
       &RPSDQ\ZLOOSURPSWO\QRWLI\0HPEHURIDQ\VXFKFODLPRIZKLFKLWEHFRPHVDZDUHDQGZLOO L SURYLGH
       UHDVRQDEOHFRRSHUDWLRQWR0HPEHUDW\RXUH[SHQVHLQFRQQHFWLRQZLWKWKHGHIHQVHRUVHWWOHPHQWRIDQ\
       VXFKFODLPDQG LL EHHQWLWOHGWRSDUWLFLSDWHDWLWVRZQH[SHQVHLQWKHGHIHQVHRIDQ\VXFKFODLP
       &RPSDQ\DJUHHVWKDW\RXZLOOKDYHVROHDQGH[FOXVLYHFRQWURORYHUWKHGHIHQVHDQGVHWWOHPHQWRIDQ\VXFK
       WKLUGSDUW\FODLP+RZHYHU0HPEHUDJUHHVQRWWRDFTXLHVFHWRDQ\MXGJPHQWRUHQWHULQWRDQ\VHWWOHPHQW
       WKDWDGYHUVHO\DIIHFWV&RPSDQ\ VULJKWVRULQWHUHVWVZLWKRXWWKHSULRUZULWWHQFRQVHQWRI&RPSDQ\
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       ,IIRUZKDWHYHUUHDVRQDFRXUWRIFRPSHWHQWMXULVGLFWLRQILQGVDQ\WHUPRUFRQGLWLRQLQWKLV$JUHHPHQWWREH
       XQHQIRUFHDEOHDOORWKHUWHUPVDQGFRQGLWLRQVZLOOUHPDLQXQDIIHFWHGDQGLQIXOOIRUFHDQGHIIHFW1RZDLYHU
       RUDQ\EUHDFKRIDQ\SURYLVLRQRIWKLV$JUHHPHQWVKDOOFRQVWLWXWHDZDLYHURIDQ\SULRUFRQFXUUHQWRU
       VXEVHTXHQWEUHDFKRIWKHVDPHRUDQ\RWKHUSURYLVLRQVKHUHRIDQGQRZDLYHUVKDOOEHHIIHFWLYHXQOHVV
       PDGHLQZULWLQJDQGVLJQHGE\DQDXWKRUL]HGUHSUHVHQWDWLYHRIWKHZDLYLQJSDUW\7KH&RPSDQ\QHYHUJLYHV
       XSLWVULJKWWRLQVLVWRQFRPSOLDQFHZLWKWKH$JUHHPHQWDQGZLWKWKHDSSOLFDEOHODZVJRYHUQLQJWKHFRQGXFW
       RIDEXVLQHVV1RIDLOXUHRI'LJLWDO$OWLWXGHWRH[HUFLVHDQ\ULJKWRUSRZHUXQGHUWKH$JUHHPHQWRUWRLQVLVW
       XSRQVWULFWFRPSOLDQFHE\D0HPEHUZLWKDQ\REOLJDWLRQRUSURYLVLRQRIWKH$JUHHPHQWDQGQRFXVWRPRU
       SUDFWLFHRIWKHSDUWLHVDWYDULDQFHZLWKWKHWHUPVRIWKH$JUHHPHQWVKDOOFRQVWLWXWHDZDLYHURI'LJLWDO
       $OWLWXGH¶VULJKWWRGHPDQGH[DFWFRPSOLDQFHZLWKWKH$JUHHPHQW7KHH[LVWHQFHRIDQ\FODLPRUFDXVHRI
       DFWLRQRID0HPEHUDJDLQVW'LJLWDO$OWLWXGHVKDOOQRWFRQVWLWXWHDGHIHQVHWR'LJLWDO$OWLWXGH¶VHQIRUFHPHQWRI
       DQ\WHUPRUSURYLVLRQRIWKH$JUHHPHQW
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       02',),&$7,216
       &RPSDQ\PD\LQLWVVROHGLVFUHWLRQDQGZLWKRXWSULRUQRWLFH L UHYLVHWKLV$JUHHPHQW LL PRGLI\WKH6LWH
       &RQWHQWRUWKH6HUYLFHDQG LLL GLVFRQWLQXHWKH6LWH&RQWHQWRU6HUYLFHDWDQ\WLPHIRUDQ\UHYLVLRQ
       &RPSDQ\VKDOOSRVWDQ\UHYLVLRQWRWKLV$JUHHPHQWWRWKH6LWHDQGWKHUHYLVLRQVKDOOEHHIIHFWLYH
       LPPHGLDWHO\XSRQVXFKSRVWLQJ,QWKHHYHQWRIVXEVWDQWLYHFKDQJHVWRWKLV$JUHHPHQW\RXZLOOEHQRWLILHG
       RIWKHFKDQJHVDQGUHTXLUHGWRFRQVHQWWRWKHQHZWHUPV,IDQ\PRGLILFDWLRQLVXQDFFHSWDEOHWR0HPEHU

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       WKHRQO\UHFRXUVHLVQRWWRXVHWKH6LWHDQG6HUYLFHDQGWRUHTXHVWDQLPPHGLDWHWHUPLQDWLRQRIWKH
       PHPEHUVKLS0HPEHUVH[SUHVVFRQVHQWRUFRQWLQXHGXVHRIWKH6LWH&RQWHQWRURXU6HUYLFHIROORZLQJ
       SRVWLQJRIDFKDQJHQRWLFHRUQHZ$JUHHPHQWRQWKH6LWHZLOOFRQVWLWXWHELQGLQJDFFHSWDQFHRIWKHFKDQJHV
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       &203/$,176 *5,(9$1&(6
       :KHQD0HPEHUKDVDJULHYDQFHRUFRPSODLQWZLWKDQRWKHU0HPEHURU$IILOLDWHUHJDUGLQJDQ\SUDFWLFHRU
       FRQGXFWLQUHODWLRQVKLSWRWKHLUUHVSHFWLYH'LJLWDO$OWLWXGHEXVLQHVVHVWKHFRPSODLQLQJ0HPEHUVKRXOGILUVW
       UHSRUWWKHSUREOHPWRKLVRUKHU6SRQVRUZKRVKRXOGUHYLHZWKHPDWWHUDQGWU\WRUHVROYHLWZLWKWKHRWKHU
       SDUW\ VXSOLQHVSRQVRU,IWKHPDWWHULQYROYHVLQWHUSUHWDWLRQRUYLRODWLRQRI&RPSDQ\SROLF\LWPXVWEH
       UHSRUWHGLQZULWLQJWRWKH&RPSOLDQFH'HSDUWPHQWDWWKH&RPSDQ\7KH&RPSOLDQFH'HSDUWPHQWZLOOUHYLHZ
       WKHIDFWVDQGDWWHPSWWRUHVROYHLW
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       3ULRUWRLQVWLWXWLQJDQDUELWUDWLRQDVSURYLGHGEHORZWKHSDUWLHVVKDOOPHHWLQJRRGIDLWKDQGDWWHPSWWR
       UHVROYHDQ\GLVSXWHDULVLQJIURPRUUHODWLQJWRWKH$JUHHPHQWWKURXJKQRQELQGLQJPHGLDWLRQ2QHLQGLYLGXDO
       ZKRLVPXWXDOO\DFFHSWDEOHWRWKHSDUWLHVVKDOOEHDSSRLQWHGDVPHGLDWRU7KHPHGLDWLRQVKDOORFFXUZLWKLQ
       GD\VIURPWKHGDWHRQZKLFKWKHPHGLDWRULVDSSRLQWHG7KHPHGLDWRU¶VIHHVDQGFRVWVDVZHOODVWKH
       FRVWVRIKROGLQJDQGFRQGXFWLQJWKHPHGLDWLRQVKDOOEHGLYLGHGHTXDOO\EHWZHHQWKHSDUWLHV(DFKSDUW\
       VKDOOSD\LWVSRUWLRQRIWKHDQWLFLSDWHGVKDUHGIHHVDQGFRVWVDWOHDVWGD\VLQDGYDQFHRIWKHPHGLDWLRQ
       (DFKSDUW\VKDOOSD\LWVRZQDWWRUQH\¶VIHHVFRVWVDQGLQGLYLGXDOH[SHQVHVDVVRFLDWHGZLWKFRQGXFWLQJDQG
       DWWHQGLQJWKHPHGLDWLRQ0HGLDWLRQVKDOOEHKHOGLQ7DPSD)ORULGDDQGVKDOOODVWQRPRUHWKDQRQH
       EXVLQHVVGD\
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       ,IPHGLDWLRQLVXQVXFFHVVIXODQ\FRQWURYHUV\RUFODLPDULVLQJRXWRIRUUHODWLQJWRWKH$JUHHPHQWRU
       WKHEUHDFKWKHUHRIVKDOOEHVHWWOHGE\DUELWUDWLRQH[FHSWDVRWKHUZLVHVHWIRUWKKHUHLQ7KHSDUWLHVZDLYHDOO
       ULJKWVWRWULDOE\MXU\RUWRDQ\FRXUW
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       ([FHSWDVH[SUHVVO\VHWIRUWKKHUHLQDOOGLVSXWHVFODLPVDQGFRQWURYHUVLHVUHODWLQJWRRUDULVLQJRXWRIWKH
       $JUHHPHQWVKDOOEHVHWWOHGWRWDOO\DQGILQDOO\E\DUELWUDWLRQLQ7DPSD)ORULGDDQGDGPLQLVWHUHGE\WKH
       $PHULFDQ$UELWUDWLRQ$VVRFLDWLRQLQDFFRUGDQFHZLWKLWV&RPPHUFLDO$UELWUDWLRQ5XOHV WKH³5XOHV´ H[FHSW
       DVDPHQGHGE\WKHVH3ROLFLHVDQG3URFHGXUHV
       7KHUHVKDOOEHRQHDUELWUDWRUZKRVKDOOEHDQDWWRUQH\ZKRVKDOOKDYHH[SHUWLVHLQEXVLQHVVODZ
       WUDQVDFWLRQVDQGSUHIHUDEO\DQDWWRUQH\NQRZOHGJHDEOHLQWKHGLUHFWVHOOLQJLQGXVWU\(DFKSDUW\WRWKH
       DUELWUDWLRQVKDOOEHUHVSRQVLEOHIRULWVRZQFRVWVDQGH[SHQVHVRIDUELWUDWLRQLQFOXGLQJOHJDODQGILOLQJIHHV
       ,ID0HPEHUILOHVDFODLPRUFRXQWHUFODLPDJDLQVWWKH&RPSDQ\D0HPEHUVKDOOGRVRRQDQLQGLYLGXDO
       EDVLVDQGQRWZLWKDQ\RWKHU0HPEHURUDVSDUWRIDFODVVDFWLRQ$SDUW\PD\DSSHDUDWWKHDUELWUDWLRQE\
       WHOHSKRQHYLGHRFRQIHUHQFHRUVLPLODUWHFKQRORJ\LIWKHWRWDODPRXQWRIWKHFODLPGRHVQRWH[FHHG
       7KHSUHVHQWDWLRQVRISDUWLHVLQWKHDUELWUDWLRQSURFHHGLQJVKDOOEHFRPPHQFHGDQGFRPSOHWHGZLWKLQVL[W\
          GD\VDIWHUWKHVHOHFWLRQRIWKHDUELWUDWRUDQGWKHDUELWUDWRUVKDOOUHQGHUKLVRUKHUGHFLVLRQLQZULWLQJ
       ZLWKLQWKLUW\  GD\VDIWHUWKHFRPSOHWLRQRIVXFKSUHVHQWDWLRQV7KHGHFLVLRQRIWKHDUELWUDWRUVKDOOEHILQDO
       DQGELQGLQJRQWKHSDUWLHVDQGPD\LIQHHGEHEHUHGXFHGWRDMXGJPHQWLQDQ\FRXUWRIFRPSHWHQW
       MXULVGLFWLRQ$WWKHUHTXHVWRIDQ\SDUW\WKHDUELWUDWRUVKDOOPDNHDQGSURYLGHWRWKHSDUWLHVZULWWHQILQGLQJV
       RIIDFWDQGFRQFOXVLRQVRIODZ7KLVDJUHHPHQWWRDUELWUDWHVKDOOVXUYLYHDQ\WHUPLQDWLRQRUH[SLUDWLRQRIWKH
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       1RWZLWKVWDQGLQJWKH5XOHVWKHIROORZLQJVKDOODSSO\WRDOODUELWUDWLRQDFWLRQV
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          ߦ 7KHSDUWLHVVKDOOEHHQWLWOHGWRDOOGLVFRYHU\ULJKWVSHUPLWWHGE\WKH)HGHUDO5XOHVRI&LYLO
            3URFHGXUH
          ߦ 7KHSDUWLHVVKDOOEHHQWLWOHGWREULQJPRWLRQVXQGHU5XOHVDQGRURIWKH)HGHUDO5XOHVRI&LYLO
            3URFHGXUH
          ߦ 7KHSDUWLHVVKDOOEHDOORWWHGHTXDOWLPHWRSUHVHQWWKHLUUHVSHFWLYHFDVHVLQFOXGLQJ
            FURVVH[DPLQDWLRQV
          ߦ 7KHSDUWLHVDQGWKHDUELWUDWRUVKDOOPDLQWDLQWKHFRQILGHQWLDOLW\RIWKHHQWLUHDUELWUDWLRQSURFHVVDQG
            VKDOOQRWGLVFORVHXQOHVVRWKHUZLVHUHTXLUHGE\ODZWRDQ\SHUVRQQRWGLUHFWO\LQYROYHGLQWKH
            DUELWUDWLRQSURFHVV
          ߦ 7KHVXEVWDQFHRIRUEDVLVIRUWKHFRQWURYHUV\GLVSXWHRUFODLP
          ߦ 7KHFRQWHQWRIDQ\WHVWLPRQ\RURWKHUHYLGHQFHSUHVHQWHGDWDQDUELWUDWLRQKHDULQJRUREWDLQHG
            WKURXJKGLVFRYHU\LQDUELWUDWLRQ
          ߦ 7KHWHUPVRUDPRXQWRIDQ\DUELWUDWLRQDZDUGRU
          ߦ 7KHUXOLQJVRIWKHDUELWUDWRURQWKHSURFHGXUDODQGRUVXEVWDQWLYHLVVXHVLQYROYHGLQWKHFDVH

       1RWZLWKVWDQGLQJWKHIRUHJRLQJWKHDUELWUDWRUVKDOOKDYHQRMXULVGLFWLRQRYHUGLVSXWHVUHODWLQJWRWKH
       RZQHUVKLSYDOLGLW\XVHRUUHJLVWUDWLRQRIDQ\FRS\ULJKWRURWKHULQWHOOHFWXDOSURSHUW\RU&RQILGHQWLDO
       ,QIRUPDWLRQRIWKH&RPSDQ\ZLWKRXWWKH&RPSDQ\¶VSULRUZULWWHQFRQVHQW7KH&RPSDQ\PD\VHHNDQ\
       DSSOLFDEOHUHPHG\LQDQ\DSSOLFDEOHIRUXPZLWKUHVSHFWWRWKHVHGLVSXWHV,QDGGLWLRQWRPRQHWDU\
       GDPDJHVWKH&RPSDQ\PD\REWDLQLQMXQFWLYHUHOLHIDJDLQVWD0HPEHUIRUDQ\YLRODWLRQRIWKH$JUHHPHQWRU
       PLVXVHRIWKH&RPSDQ\¶VWUDGHPDUNVFRS\ULJKWVRU&RQILGHQWLDO,QIRUPDWLRQ

       1RWKLQJLQWKLVSURYLVLRQVKDOOSUHYHQWDSDUW\IURPDSSO\LQJWRDQGREWDLQLQJIURPDQ\FRXUWKDYLQJ
       MXULVGLFWLRQDZULWRIDWWDFKPHQWDWHPSRUDU\LQMXQFWLRQSUHOLPLQDU\LQMXQFWLRQDQGRURWKHULQMXQFWLYHRU
       HPHUJHQF\UHOLHIDYDLODEOHWRVDIHJXDUGDQGSURWHFWWKHSDUW\¶VLQWHUHVWVSULRUWRWKHILOLQJRIRUGXULQJRU
       IROORZLQJDQ\DUELWUDWLRQRURWKHUSURFHHGLQJRUSHQGLQJWKHKDQGLQJGRZQRIDGHFLVLRQRUDZDUGLQ
       FRQQHFWLRQZLWKDQ\DUELWUDWLRQRURWKHUSURFHHGLQJ

       1RWKLQJFRQWDLQHGKHUHLQVKDOOEHGHHPHGWRJLYHWKHDUELWUDWRUDQ\DXWKRULW\SRZHURUULJKWWRDOWHU
       FKDQJHDPHQGPRGLI\DGGWRRUWRVXEWUDFWIURPDQ\RIWKHSURYLVLRQVRIWKH0HPEHU$JUHHPHQW
       &RPSHQVDWLRQ3ODQRUWKH$JUHHPHQW7KHDUELWUDWRUVKDOOQRWKDYHWKHSRZHUWRUXOHXSRQRUJUDQWDQ\
       H[WHQVLRQUHQHZDORUFRQWLQXDQFHRIWKH$JUHHPHQW7KHDUELWUDWRUVKDOOQRWKDYHWKHSRZHUWRDZDUG
       VSHFLDOLQFLGHQWDOLQGLUHFWSXQLWLYHRUH[HPSODU\RUFRQVHTXHQWLDOGDPDJHVRIDQ\NLQGRUQDWXUH
       KRZHYHUFDXVHG

       $Q\PRGLILFDWLRQRIWKLVDUELWUDWLRQSURYLVLRQVKDOOQRWDSSO\UHWURDFWLYHO\WRDQ\GLVSXWHZKLFKDURVHRU
       ZKLFKWKH&RPSDQ\KDGQRWLFHRIEHIRUHWKHGDWHRIPRGLILFDWLRQ

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       7KLV$JUHHPHQWVKDOOEHFRQVWUXHGLQDFFRUGDQFHZLWKDQGJRYHUQHGE\WKHODZVRIWKH8QLWHG6WDWHVDQG
       WKH6WDWHRI'HODZDUHZLWKRXWUHIHUHQFHWRWKHLUUXOHVUHJDUGLQJFRQIOLFWVRIODZ<RXKHUHE\LUUHYRFDEO\
       FRQVHQWWRWKHH[FOXVLYHMXULVGLFWLRQRIWKHVWDWHRUIHGHUDOFRXUWVLQ6XVVH[&RXQW\'HODZDUH86$LQDOO
       GLVSXWHVDULVLQJRXWRIRUUHODWHGWRWKHXVHRIWKH6LWH&RQWHQWRU6HUYLFH([FHSWDVVHWIRUWKLQWKLV
       $JUHHPHQWWKH)HGHUDO$UELWUDWLRQ$FWVKDOOJRYHUQDOOPDWWHUVUHODWLQJWRDUELWUDWLRQ,QWKHHYHQWRID
       GLVSXWHEHWZHHQD0HPEHUDQG&RPSDQ\DULVLQJIURPRUUHODWLQJWRWKH$JUHHPHQWRUWKHULJKWVDQG
       REOLJDWLRQVRIHLWKHUSDUW\WKHSDUWLHVVKDOODWWHPSWLQJRRGIDLWKWRUHVROYHWKHGLVSXWHWKURXJKFRQILGHQWLDO
       QRQELQGLQJPHGLDWLRQDVPRUHIXOO\GHVFULEHGLQWKH3ROLFLHVDQG3URFHGXUHV&RPSDQ\VKDOOQRWEH
       REOLJDWHGWRHQJDJHLQPHGLDWLRQDVDSUHUHTXLVLWHWRGLVFLSOLQDU\DFWLRQDJDLQVWD0HPEHU,IWKHSDUWLHVDUH
       XQVXFFHVVIXOLQUHVROYLQJWKHLUGLVSXWHWKURXJKPHGLDWLRQWKHGLVSXWHVKDOOEHVHWWOHGWRWDOO\DQGILQDOO\E\
       DUELWUDWLRQDVPRUHIXOO\GHVFULEHGLQWKH3ROLFLHVDQG3URFHGXUHVZKLFKLVLQFRUSRUDWHGKHUHLQE\
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       1RWZLWKVWDQGLQJWKHIRUHJRLQJHLWKHUSDUW\PD\EULQJDQDFWLRQEHIRUHWKHFRXUWVVHHNLQJDUHVWUDLQLQJ
       RUGHUWHPSRUDU\RUSHUPDQHQWLQMXQFWLRQRURWKHUHTXLWDEOHUHOLHIWRSURWHFWLWVLQWHOOHFWXDOSURSHUW\ULJKWV
       LQFOXGLQJEXWQRWOLPLWHGWRFXVWRPHUDQGRUDIILOLDWHOLVWVDVZHOODVRWKHUWUDGHVHFUHWVWUDGHPDUNVWUDGH
       QDPHVSDWHQWVDQGFRS\ULJKWV7KHSDUWLHVPD\DOVRVHHNMXGLFLDOHQIRUFHPHQWRIDQDUELWUDWLRQDZDUG
       7KLV$JUHHPHQWGRHVQRWOLPLWDQ\ULJKWVRUUHPHGLHVWKDWZHRURXUVXSSOLHUVOLFHQVRUVRURWKHUVLPLODU
       HQWLWLHVPD\KDYHXQGHUWUDGHVHFUHWFRS\ULJKWSDWHQWWUDGHPDUNRURWKHUODZV
       /RXLVLDQD5HVLGHQWV1RWZLWKVWDQGLQJWKHIRUHJRLQJDQGWKHPHGLDWLRQDQGDUELWUDWLRQSURYLVLRQVDOORZWKDW
       UHVLGHQWVRIWKH6WDWHRI/RXLVLDQDVKDOOEHHQWLWOHGWREULQJDQDFWLRQDJDLQVW'LJLWDO$OWLWXGHLQWKHLUKRPH
       IRUXPDQGSXUVXDQWWR/RXLVLDQDODZ
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       'LJLWDO$OWLWXGHVKDOOQRWEHUHVSRQVLEOHIRUGHOD\VRUIDLOXUHVLQSHUIRUPDQFHRILWVREOLJDWLRQVZKHQ
       SHUIRUPDQFHLVPDGHFRPPHUFLDOO\LPSUDFWLFDEOHGXHWRFLUFXPVWDQFHVEH\RQGLWVUHDVRQDEOHFRQWURO7KLV
       LQFOXGHVZLWKRXWOLPLWDWLRQDFWVRIWHUURULVPQDWXUDOGLVDVWHUVVWULNHVODERUGLIILFXOWLHVULRWZDUILUH
       GHDWKFXUWDLOPHQWRIDSDUW\¶VVRXUFHRIVXSSO\DFWVRURPLVVLRQVRIWKLUGSDUWLHVGLVUXSWLRQLQ
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Case 2:18-cv-00729-JAK-MRW Document 16 Filed 01/29/18 Page 110 of 179 Page ID
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Case 2:18-cv-00729-JAK-MRW Document 16 Filed 01/29/18 Page 111 of 179 Page ID
                                  #:246




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Case 2:18-cv-00729-JAK-MRW Document 16 Filed 01/29/18 Page 112 of 179 Page ID
                                  #:247




                                     Attachment C




                                                                       EX 7
                                                                        109
Case 2:18-cv-00729-JAK-MRW Document 16 Filed 01/29/18 Page 113 of 179 Page ID
                                  #:248

   From:           Gail Gruber
   To:             Goodman, Jody
   Subject:        Fwd: [Digital Altitude] Re: I do not wish to continue and although past the St...
   Date:           Tuesday, October 24, 2017 9:38:07 AM




  Sue Gruber

  ---------- Forwarded message ----------
  From: Catherine Shoff (Digital Altitude) <support@digitalaltitude.zendesk.com>
  Date: Tue, Aug 29, 2017 at 10:55 PM
  Subject: [Digital Altitude] Re: I do not wish to continue and although past the St...
  To: Sue Gruber <                          >


    ##- Please type your reply above this line -##

    Your request (256067) has been updated. To add additional comments, just reply to this email.




               Catherine Shoff (Digital Altitude)
               Aug 29, 7:55 PM PDT

               Hello Sue Gruber


               Thank you for your email and for using the ASPIRE customer care ticketing
               system.


               We want to let you know that we have received your ticket and will be
               reviewing it and assigning to the department who can best help you with
               your situation.


               In the meantime, please check out our FAQ here : https://digitalaltitude.
               zendesk.com/hc/en-us


               Please take note that our office hours for customer care are between 9am
               and 5pm Monday through Saturday (Pacific time USA).


               We hope you have a wonderful day,



               Get your Marketing Mastery Live Event Tickets:
               http://www.digitalaltitude.co/mmevegas2017

               Catherine Shoff



                                                                                                       EX 7
                                                                                                        110
Case 2:18-cv-00729-JAK-MRW Document 16 Filed 01/29/18 Page 114 of 179 Page ID
                                  #:249




               ASPIRE Customer Support
               Powered by Digital Altitude
               1-800-820-7589




               Sue Gruber
               Aug 29, 7:30 PM PDT


               I do not wish to continue and although past the Strict 72 hour refund policy
               I am requesting a full refund. Your startup coach assured me that there was
               no cost to me when I asked. He lied.

               ------------------
               Submitted from: https://my.aspiresystem.co/dashboard/




    This email is a service from Digital Altitude. Delivered by Zendesk


  [NZZ2D0-OLZ6]




                                                                                        EX 7
                                                                                         111
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                                  #:250




                                     Attachment D




                                                                       EX 7
                                                                        112
Case 2:18-cv-00729-JAK-MRW Document 16 Filed 01/29/18 Page 116 of 179 Page ID
                                  #:251

   From:           Gail Gruber
   To:             Goodman, Jody
   Subject:        Fwd: [Digital Altitude] Re: Advise on my ticket submitted an requested refund....
   Date:           Tuesday, October 24, 2017 9:37:08 AM




  Sue Gruber

  ---------- Forwarded message ----------
  From: Konstantine Ksygkakis (Digital Altitude) <support@digitalaltitude.co>
  Date: Wed, Aug 30, 2017 at 12:19 PM
  Subject: [Digital Altitude] Re: Advise on my ticket submitted an requested refund....
  To: Sue Gruber <                        >


    ##- Please type your reply above this line -##

    Your request (256206) has been updated. To add additional comments, just reply to this email.




               Konstantine Ksygkakis (Digital Altitude)
               Aug 30, 9:19 AM PDT

               Hello Sue Gruber


               Thank you for your email and for using the ASPIRE customer care ticketing
               system.


               We want to let you know that we have received your ticket and will be
               reviewing it and assigning to the department who can best help you with
               your situation.


               In the meantime, please check out our FAQ here : https://digitalaltitude.
               zendesk.com/hc/en-us


               Please take note that our office hours for customer care are between 9am
               and 5pm Monday through Saturday (Pacific time USA).


               We hope you have a wonderful day,

               Konstantine Ksygkakis
               ASPIRE Customer Care
               Powered by Digital Altitude
               1-800-820-7589




                                                                                                       EX 7
                                                                                                        113
Case 2:18-cv-00729-JAK-MRW Document 16 Filed 01/29/18 Page 117 of 179 Page ID
                                  #:252




               Sue Gruber
               Aug 30, 8:35 AM PDT


               Advise on my ticket submitted an requested refund. The coaches are
               contacting me and harassing me. A full refund is required as this is blatant
               harassment.

               Sue Gruber




    This email is a service from Digital Altitude. Delivered by Zendesk


  [1G76ML-XL66]




                                                                                         EX 7
                                                                                          114
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                                  #:253




                                     Attachment E




                                                                       EX 7
                                                                        115
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                                  #:254

   From:           Gail Gruber
   To:             Goodman, Jody
   Subject:        Fwd: [Digital Altitude] Re: Please update me on my ticket. Close the business...
   Date:           Tuesday, October 24, 2017 9:36:23 AM


  my email correspondence
  Sue Gruber

  Forwarded conversation
  Subject: [Digital Altitude] Re: Please update me on my ticket. Close the business...
  ------------------------

  From: Catherine Shoff (Digital Altitude) <support@digitalaltitude.zendesk.com>
  Date: Thu, Aug 31, 2017 at 12:14 PM
  To: Sue Gruber <


    ##- Please type your reply above this line -##

    Your request (256669) has been updated. To add additional comments, just reply to this email.




               Catherine Shoff (Digital Altitude)
               Aug 31, 9:14 AM PDT


               Hello Sue Gruber


               Thank you for your email and for using the ASPIRE customer care ticketing
               system.


               We want to let you know that we have received your ticket and will be
               reviewing it and assigning to the department who can best help you with
               your situation.


               In the meantime, please check out our FAQ here : https://digitalaltitude.
               zendesk.com/hc/en-us


               Please take note that our office hours for customer care are between 9am
               and 5pm Monday through Saturday (Pacific time USA).


               We hope you have a wonderful day,



               Get your Marketing Mastery Live Event Tickets:
               http://www.digitalaltitude.co/mmevegas2017



                                                                                                      EX 7
                                                                                                       116
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                                  #:255

               Catherine Shoff
               ASPIRE Customer Support
               Powered by Digital Altitude
               1-800-820-7589




               Sue Gruber
               Aug 31, 7:57 AM PDT


               Please update me on my ticket. Close the business and issue a refund

               ------------------
               Submitted from: https://my.aspiresystem.co/dashboard/




    This email is a service from Digital Altitude. Delivered by Zendesk


  [JL6WDE-658K]

  ----------
  From: Gail Gruber <                      >
  Date: Thu, Aug 31, 2017 at 12:42 PM
  To: Digital Altitude <support+id256669@digitalaltitude.zendesk.com>


  I got this email yesterday. What is the update??

  Sue Gruber

  ----------
  From: James Marcum (Digital Altitude) <support@digitalaltitude.zendesk.com>
  Date: Thu, Aug 31, 2017 at 12:50 PM
  To: Sue Gruber <                    >


    ##- Please type your reply above this line -##

    Your request (256669) has been updated. To add additional comments, just reply to this email.




               James Marcum (Digital Altitude)
               Aug 31, 9:50 AM PDT


               Hello Sue,




                                                                                               EX 7
                                                                                                117
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                                  #:256

           Your purchase for Rise was done on 8/22 and 8/23 (see attached
           screenshot) and you requested for a refund past the 72 hour timeframe. I
           have also attached the signed Purchase agreement you signed which is
           legal and binding and shows that you signed and agreed to to the terms of
           the purchase and you knew there was a price and that you also understood
           the refund policy. Please let us know if you need any further clarification of
           the refund policy.

           Get your Marketing Mastery Live Event Tickets:
           http://www.digitalaltitude.co/mmevegas2017




           ASPIRE Customer Care
           Powered by Digital Altitude
           1-800-820-7589

           Attachment(s)
           charges.png
           MEMBERPURCHASEAGREEMENT-signed.pdf




           Sue Gruber
           Aug 31, 9:42 AM PDT


           I got this email yesterday. What is the update??

           Sue Gruber




           Catherine Shoff (Digital Altitude)
           Aug 31, 9:14 AM PDT


           Hello Sue Gruber


           Thank you for your email and for using the ASPIRE customer care ticketing
           system.


           We want to let you know that we have received your ticket and will be
           reviewing it and assigning to the department who can best help you with
           your situation.




                                                                                       EX 7
                                                                                        118
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                                  #:257

              In the meantime, please check out our FAQ here : https://digitalaltitude.
              zendesk.com/hc/en-us


              Please take note that our office hours for customer care are between 9am
              and 5pm Monday through Saturday (Pacific time USA).


              We hope you have a wonderful day,



              Get your Marketing Mastery Live Event Tickets:
              http://www.digitalaltitude.co/mmevegas2017

              Catherine Shoff
              ASPIRE Customer Support
              Powered by Digital Altitude
              1-800-820-7589




              Sue Gruber
              Aug 31, 7:57 AM PDT


              Please update me on my ticket. Close the business and issue a refund

              ------------------
              Submitted from: https://my.aspiresystem.co/dashboard/




   This email is a service from Digital Altitude. Delivered by Zendesk


 [JL6WDE-658K]

 ----------
 From: Gail Gruber                        >
 Date: Thu, Aug 31, 2017 at 1:05 PM
 To: Digital Altitude <support+id256669@digitalaltitude.zendesk.com>


 My purchase for rise was Completed on 8/24 as it was not paid in full until that day. Three
 business days would make it Tuesday which is when I made my refund request. My purchase
 agreements were also signed that day. If you are unable to approve I am requesting the name
 and phone number of who I need to speak to. Your risks do not include being harrassed by
 coaches playing on my fear.

 Sue Gruber


                                                                                          EX 7
                                                                                           119
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                                  #:258

  ----------
  From: Gail Gruber <
  Date: Thu, Aug 31, 2017 at 1:06 PM
  To: Digital Altitude <support+id256669@digitalaltitude.zendesk.com>


  Also. Close that business I want nothing to do with it

  Sue Gruber

  ----------
  From: James Marcum (Digital Altitude) <support@digitalaltitude.zendesk.com>
  Date: Thu, Aug 31, 2017 at 1:33 PM
  To: Sue Gruber <                   >


    ##- Please type your reply above this line -##

    Your request (256669) has been updated. To add additional comments, just reply to this email.




               James Marcum (Digital Altitude)
               Aug 31, 10:33 AM PDT


               Hello Sue,


               The first payment you made gave you access to the product and locked you
               into that membership and you signed the the purchase agreement on 8/23
               (see attached screenshot of your signature beside the date on the
               agreement). Your request for a refund will not be processed at this time.

               Get your Marketing Mastery Live Event Tickets:
               http://www.digitalaltitude.co/mmevegas2017




               ASPIRE Customer Care
               Powered by Digital Altitude
               1-800-820-7589

               Attachment(s)
               gailssignature.png




               Sue Gruber



                                                                                               EX 7
                                                                                                120
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                                  #:259


           Aug 31, 10:06 AM PDT


           Also. Close that business I want nothing to do with it

           Sue Gruber

           My purchase for rise was Completed on 8/24 as it was not paid in full until
           that day. Three business days would make it Tuesday which is when I made
           my refund request. My purchase agreements were also signed that day. If
           you are unable to approve I am requesting the name and phone number of
           who I need to speak to. Your risks do not include being harrassed by
           coaches playing on my fear.

           Sue Gruber




           Sue Gruber
           Aug 31, 10:05 AM PDT


           My purchase for rise was Completed on 8/24 as it was not paid in full until
           that day. Three business days would make it Tuesday which is when I made
           my refund request. My purchase agreements were also signed that day. If
           you are unable to approve I am requesting the name and phone number of
           who I need to speak to. Your risks do not include being harrassed by
           coaches playing on my fear.

           Sue Gruber




           James Marcum (Digital Altitude)
           Aug 31, 9:50 AM PDT


           Hello Sue,


           Your purchase for Rise was done on 8/22 and 8/23 (see attached
           screenshot) and you requested for a refund past the 72 hour timeframe. I
           have also attached the signed Purchase agreement you signed which is
           legal and binding and shows that you signed and agreed to to the terms of
           the purchase and you knew there was a price and that you also understood
           the refund policy. Please let us know if you need any further clarification of
           the refund policy.


                                                                                       EX 7
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               Get your Marketing Mastery Live Event Tickets:
               http://www.digitalaltitude.co/mmevegas2017




               ASPIRE Customer Care
               Powered by Digital Altitude
               1-800-820-7589

               Attachment(s)
               charges.png
               MEMBERPURCHASEAGREEMENT-signed.pdf



  [JL6WDE-658K]

  ----------
  From: Gail Gruber <                      >
  Date: Thu, Aug 31, 2017 at 1:38 PM
  To: Digital Altitude <support+id256669@digitalaltitude.zendesk.com>


  Can you close my account?

  Sue Gruber

  ----------
  From: James Marcum (Digital Altitude) <support@digitalaltitude.zendesk.com>
  Date: Thu, Aug 31, 2017 at 3:35 PM
  To: Sue Gruber                     >


    ##- Please type your reply above this line -##

    Your request (256669) has been updated. To add additional comments, just reply to this email.




               James Marcum (Digital Altitude)
               Aug 31, 12:35 PM PDT


               Hello Sue,


               Your account has now been cancelled effective 8/31/2017.

               Get your Marketing Mastery Live Event Tickets:
               http://www.digitalaltitude.co/mmevegas2017



                                                                                               EX 7
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            ASPIRE Customer Care
            Powered by Digital Altitude
            1-800-820-7589




            Sue Gruber
            Aug 31, 10:39 AM PDT


            Can you close my account?

            Sue Gruber



  [JL6WDE-658K]




                                                                       EX 7
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1                         DECLARATION OF TERRY HAMILTON
2            1.     My name is Terry Hamilton. I live in British Columbia, Canada. The
3      following statements are within my personal knowledge.
4            2.     In about July 2017, I heard about Digital Altitude from someone
5      named Tim Donovan. Tim Donovan sent me links to videos that he appeared to
6      have made. The videos persuaded me that Digital Altitude was legitimate, that he
7      had made a lot of money with Digital Altitude, and that within a year, he would
8      create about ten $100,000 earners.
9            3.     I also saw videos of Michael Force. He comes across as honest. He
10     talks about how he was involved in this kind of thing but was discouraged because
11     people weren’t paying their clients, which is why he started Digital Altitude, to be
12     different. Michael Force said people could make six figures within three months. I
13     thought I could make money with Digital Altitude so I joined.
14           4.     You have to go through Digital Altitude’s “coaches,” but now I realize
15     they are just high-pressure salespeople. You go from one coach to the next, and
16     each one encourages you to buy the next level. You have to bring people into
17     Digital Altitude in order to make money. If you recruit somebody else to join, and
18     they go to a higher level than you, you don’t get the money.
19           5.     I paid $2,057 for the RISE level, plus additional monthly fees for
20     ASPIRE membership. Attachment A is a true and accurate redacted copy of my
21     invoice for RISE.
22           6.     I earned about $190 with Digital Altitude, after spending more than
23     $3,000. I think Digital Altitude is a scam. They made definite claims as to earnings
24     that would be paid to me if I paid their fees and brought new members into their
25     company. I fulfilled my part of the agreement, but I did not make anything close to
26     what I invested.
27           7.     People with a limited amount of money lose everything with Digital
28     Altitude. I remember Michael Force saying it’s not a pyramid scheme because it’s


                                                                Terry Hamilton Declaration Page 1

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                                                                       EX 8
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  1                    DECLARATION OF STEPHEN LOHBECK
  2          1.     My name is Stephen Lohbeck. I currently reside in Citrus Heights,
  3    California. The following statements are within my personal knowledge.
  4          2.     In about September 2016, I was searching online for a way to make
  5    some money from home. Through a Google search, I saw an ad for Digital
  6    Altitude. It said you could sign up for one dollar, and that you could make six
  7    figures of income within 90 days. From the ad, I understood that Digital Altitude
  8    would provide videos, training, and education. I signed up for one dollar.
  9          3.     I went through six steps, which was watching six training videos.
  10   Some of the videos showed Michael Force. He was talking about his background
  11   in the military, and said he has a family, and that he made a lot of money with this
  12   business. He was convincing. The videos made me think I could make money with
  13   Digital Altitude.
  14         4.     Digital Altitude gave me a coach. You talk to the coach via Skype. I
  15   talked to my coach, Sebastian Apelbaum. Attachment A is a true and accurate
  16   printout of written Skype conversations I had with Sebastian Apelbaum from
  17   September 20, 2016 to July 17, 2017. We also had voice conversations.
  18         5.      In one of the early conversations, in September 2016, Sebastian asked
  19   me questions about my work experience, and whether I like to dream big, whether
  20   I want to be rich, whether I am coachable, and whether I am a go-getter. The coach
  21   unlocked the first six steps, which consist of videos, which I watched. These
  22   videos also made me think I could make money with Digital Altitude.
  23         6.     After the first six steps, Sebastian said I had to pay a monthly fee of
  24   $37. You have to sell their products, like the Rise program. You have to go on the
  25   internet, advertise, and find people who want to make money in online marketing. I
  26   paid the $37 for a monthly membership, and watched more videos.
  27         7.     I looked around on the internet to see if it was a scam. I looked at
  28   YouTube, and there are a couple of videos that say it is a scam, but the more


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  1    positive ones outweighed the negative ones. The people who said they made a lot
  2    of money were very convincing.
  3             8.    I asked Sebastian what level he was at and how much money he was
  4    making with Digital Altitude, and he said he was “APEX earning over 6 figures a
  5    year.”
  6             9.    I wasn’t making any money at the level I was at. Sebastian told me
  7    you have to buy what they call the Rise level for about $2,500. He said more steps
  8    would be unlocked if I paid for Rise. If you don’t buy the Rise level, you cannot
  9    get any commissions from your sales. I asked him how long it would take to get a
  10   sale. He said between 30 and 60 days. This made me suspicious because at the
  11   beginning they said you could make six figures within 90 days. Sebastian said you
  12   have to advertise and buy traffic, and he also said I would get a traffic coach. I
  13   asked how to promote the program and he didn’t really answer – he said to go on
  14   Facebook and Twitter and try to recruit people. I didn’t have the money to buy
  15   Rise, and Sebastian told me to get a loan, so that’s what I did. They have a list of
  16   loan companies you can go to, and I went to one of them, called One Main
  17   Financial.
  18            10.   I bought Rise because Sebastian made me believe he earns six figures,
  19   and I talked to other people on Facebook who said they made money with Digital
  20   Altitude. Sebastian and other people told me I could make money with Rise.
  21            11.   Sebastian told me I could buy traffic from a company called Clixli. I
  22   clicked on a link through Digital Altitude and bought about 400 clicks from Clixli.
  23   Each click costs about one dollar. After a few weeks, I still had zero sales. I asked
  24   Sebastian why, and he didn’t answer. I stopped buying traffic but kept trying to
  25   make sales through Facebook and Twitter.
  26            12.   Digital Altitude sent me a list of leads. I asked Sebastian if Digital
  27   Altitude communicated with the leads, and he said not unless the leads pay the $37
  28   per month. If they do that, Digital Altitude would try to make a sale. I had about


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  1    300 leads, and finally got eight sales. Since then, six have dropped out and wanted
  2    their money back. I have about $43 on my account from these sales, but you don’t
  3    get it back until you make $100, so I haven’t received any of the money.
  4          13.    After I bought Rise, I got another coach, named Joe Kennedy. I had
  5    Skype conversations with him and with his associate, Jamie Dent. Attachment B
  6    is a printout of written Skype conversations I had with Jamie Dent and Joe
  7    Kennedy from June 2, 2017 to July 14, 2017.
  8          14.    Joe also said I had to buy traffic to make money. He also tried to sell
  9    me higher levels in Digital Altitude, which go up to $28,000. Joe said I should join
  10   Ascend because I could go to meetings in Las Vegas and Maui, and learn from
  11   other people who had made money. Attachment C is a printout of written Skype
  12   conversations I had with Joe Kennedy from May 31, 2017 to September 30, 2017.
  13         15.    Attachment D is a true and accurate redacted copy of part of my bank
  14   statement from June 2017, showing my payment of $2,064.20 for Rise, plus
  15   monthly membership fees for Digital Altitude, and foreign transaction fees. I did
  16   not expect to be charged foreign transaction fees.
  17         16.    In about September 2017, I found out that the CEO of Digital
  18   Altitude, Michael Force, and Digital Altitude were involved in a lawsuit with
  19   another company called Mobe. I mentioned that on Skype to Joe. Joe didn’t really
  20   respond to what I said. I began to wonder if I would ever get paid, and I worried if
  21   I would get in trouble for joining the company. I said Digital Altitude sounds like a
  22   pyramid scheme, and Joe didn’t respond. That’s when I reported the company to
  23   the FTC.
  24         17.    I received emails from Michael Force recently, about a meeting in Las
  25   Vegas.
  26         18.    I spent a total of about $4,000 on Digital Altitude and buying traffic,
  27   and I only made eight sales, six of which cancelled. I haven’t received any money
  28   from Digital Altitude since I joined. I’m paying off the personal loan I took out,


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                          Attachment A




                                                                       EX 9
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  [9/20/2016 7:13:11 AM] *** stephen lohbeck would like to add you on Skype

  Hi Sebastian Apelbaum, I'd like to add you as a contact. ***
  [9/20/2016 7:13:30 AM] *** Sebastian Apelbaum has shared contact details with stephen lohbeck. ***
  [9/20/2016 7:13:30 AM] stephen lohbeck: hello coach
  [9/20/2016 7:14:07 AM] stephen lohbeck: how is hollywood?
  [9/23/2016 12:45:54 PM] stephen lohbeck: when is the event
  [9/23/2016 12:46:51 PM] Sebastian Apelbaum: Hello
  [9/23/2016 12:46:57 PM] Sebastian Apelbaum: How are you
  [9/23/2016 12:47:49 PM] *** Call from Sebastian Apelbaum ***
  [9/23/2016 12:48:17 PM] *** Call ended, duration 00:28 ***
  [9/23/2016 12:48:22 PM] Sebastian Apelbaum: Hello are you there
  [9/23/2016 12:48:28 PM] Sebastian Apelbaum: waited for your call today
  [9/23/2016 12:48:31 PM] stephen lohbeck: yes
  [9/23/2016 12:48:37 PM] Sebastian Apelbaum: we had a call at 3
  [9/23/2016 12:48:48 PM] stephen lohbeck: what
  [9/23/2016 12:49:10 PM] stephen lohbeck: pacific time
  [9/23/2016 12:49:18 PM] Sebastian Apelbaum: Eastern time
  [9/23/2016 12:49:34 PM] stephen lohbeck: hollywood is pst
  [9/23/2016 12:49:49 PM] *** Missed call from Sebastian Apelbaum. ***
  [9/23/2016 12:50:02 PM] Sebastian Apelbaum: Hollywood fl
  [9/23/2016 12:50:14 PM] stephen lohbeck: can i redo it later then
  [9/23/2016 12:50:23 PM] Sebastian Apelbaum: We can do it in 5 minutes
  [9/23/2016 12:50:52 PM] stephen lohbeck: ok then i got u on skype
  [9/23/2016 12:50:58 PM] stephen lohbeck: but can't hear u
  [9/23/2016 12:51:08 PM] Sebastian Apelbaum: I will call your phone
  [9/23/2016 12:51:39 PM] *** Call to Sebastian Apelbaum, busy. ***
  [9/23/2016 12:51:57 PM] Sebastian Apelbaum: Lets talk in 20 minutes I have to take care of something
  [9/23/2016 12:52:03 PM] stephen lohbeck: ok
  [9/23/2016 1:06:07 PM] Sebastian Apelbaum: Steven please go to my site and follow the directions there
  here is the link
  [9/23/2016 1:06:29 PM] Sebastian Apelbaum: http://www.coachingyoutoday.com/
  [9/23/2016 1:45:28 PM] Sebastian Apelbaum: Did you go to my site?
  [9/27/2016 10:57:41 AM] stephen lohbeck: here are my answers to your 3 questions
  [9/27/2016 10:57:51 AM] stephen lohbeck: what do i do now?
  [9/27/2016 10:58:08 AM] stephen lohbeck: I am retired from the auto industry
  [9/27/2016 10:58:26 AM] stephen lohbeck: do I have any exp.
  [9/27/2016 10:58:54 AM] stephen lohbeck: yes i have an online website now it is
  www.unwantedweightloss.com
  [9/27/2016 10:59:02 AM] stephen lohbeck: but so far no sales
  [9/27/2016 10:59:24 AM] stephen lohbeck: I also have a BS degree in business marketing
  [9/27/2016 10:59:35 AM] stephen lohbeck: do I dream big?
  [9/27/2016 10:59:39 AM] stephen lohbeck: yes
  [9/27/2016 10:59:45 AM] stephen lohbeck: I want to be rich
  [9/27/2016 10:59:57 AM] stephen lohbeck: I am coachable
  [9/27/2016 11:00:05 AM] stephen lohbeck: I am a go-getter
  [9/27/2016 11:34:23 AM] Sebastian Apelbaum: Thank you for your anweres Stephen I will Open step 1
  for you now. Make sure you book a welcome call when you are done with step 1 talk soon
  [9/27/2016 11:37:51 AM] Sebastian Apelbaum: Also register for this
  www.IncomeUniversity.com/aspirecall
  [9/27/2016 11:49:13 AM] Sebastian Apelbaum: Join the FaceBook Group also
  https://www.facebook.com/groups/Digitalinsiders/


                                                                                                    EX 9
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  [9/27/2016 1:20:08 PM] stephen lohbeck: thanks
  [9/27/2016 1:28:18 PM] stephen lohbeck: it is not letting me start step 1
  [9/27/2016 1:29:04 PM] Sebastian Apelbaum: whats it telling you??
  [9/27/2016 1:29:11 PM] Sebastian Apelbaum: Make sure you log out and come back in
  [9/27/2016 1:29:23 PM] stephen lohbeck: ok
  [9/27/2016 1:31:27 PM] Sebastian Apelbaum: did it work
  [9/27/2016 1:31:44 PM] stephen lohbeck: no
  [9/27/2016 1:32:23 PM] stephen lohbeck: i can read it though
  [9/27/2016 1:32:42 PM] Sebastian Apelbaum: what you mean
  [9/27/2016 1:32:58 PM] stephen lohbeck: no video
  [9/27/2016 1:33:00 PM] Sebastian Apelbaum: did you click on the video
  [9/27/2016 1:33:06 PM] stephen lohbeck: yes
  [9/27/2016 1:33:44 PM] stephen lohbeck: oh is it the second video
  [9/27/2016 1:34:20 PM] Sebastian Apelbaum: there are 2 videos there that you have to wach the first one
  works just checked
  [9/27/2016 1:34:29 PM] Sebastian Apelbaum: give it a minute and it will start
  [9/27/2016 1:34:39 PM] stephen lohbeck: the videos are not working
  [9/27/2016 1:34:58 PM] Sebastian Apelbaum: is working just checked you have to give it a minute to load
  [9/27/2016 1:35:07 PM] stephen lohbeck: ok
  [9/27/2016 1:38:51 PM] stephen lohbeck: still nothing
  [9/27/2016 1:39:06 PM] Sebastian Apelbaum: what browser are you using?
  [9/27/2016 1:39:27 PM] stephen lohbeck: firefox
  [9/27/2016 1:40:07 PM] stephen lohbeck: mozilla firefox
  [9/27/2016 1:40:16 PM] Sebastian Apelbaum: Use chorme
  [9/27/2016 1:40:20 PM] stephen lohbeck: ok
  [9/27/2016 1:40:21 PM] Sebastian Apelbaum: Chrome
  [9/27/2016 1:49:57 PM] stephen lohbeck: works now thanks
  [9/27/2016 1:50:07 PM] Sebastian Apelbaum: Awesome
  [9/27/2016 2:49:47 PM] stephen lohbeck: can u help me obtain sells with my current website?
  [9/27/2016 2:50:10 PM] stephen lohbeck: sales
  [9/27/2016 2:53:45 PM] stephen lohbeck: I have completed step 1
  [9/27/2016 2:53:54 PM] stephen lohbeck: may i move on?
  [9/28/2016 8:10:26 AM] stephen lohbeck: i am waiting for your phone call
  [9/28/2016 8:10:37 AM] stephen lohbeck: today 8 am pst
  [9/28/2016 8:15:49 AM | Removed 8:17:03 AM] Sebastian Apelbaum: This message has been removed.
  [9/28/2016 8:16:24 AM] *** Call from Sebastian Apelbaum ***
  [9/28/2016 8:16:50 AM] Sebastian Apelbaum: Hello
  [9/28/2016 8:16:54 AM] Sebastian Apelbaum: can u hear me?
  [9/28/2016 8:17:09 AM] stephen lohbeck: no
  [9/28/2016 8:17:27 AM] *** Call ended, duration 01:03 ***
  [9/28/2016 8:17:48 AM] *** Call to Sebastian Apelbaum ***
  [9/28/2016 8:24:59 AM] *** Call ended, duration 07:10 ***
  [9/28/2016 9:08:52 AM] stephen lohbeck: I have completed step 2
  [9/28/2016 9:09:21 AM] stephen lohbeck: I learned that economics comes first before traffic
  [9/28/2016 9:09:43 AM] stephen lohbeck: I learned about the 80/20 principle
  [9/28/2016 9:09:53 AM] stephen lohbeck: where to get funding
  [9/28/2016 9:10:34 AM] stephen lohbeck: economics is the 4th ingredient
  [9/28/2016 9:11:10 AM] stephen lohbeck: question i can't find the group booking page
  [9/28/2016 9:11:44 AM] Sebastian Apelbaum: Get on my daily call later for the PM Group call
  [9/28/2016 9:11:59 AM] Sebastian Apelbaum: http://meetme.so/DAILIY-CHECK-IN-PM
  [9/28/2016 2:22:14 PM] Sebastian Apelbaum: Hello make sure you are on the Group call today
  [9/28/2016 2:25:37 PM] Sebastian Apelbaum: https://zoom.us/j/819583153
  [9/28/2016 2:30:34 PM] Sebastian Apelbaum: Ok we are waiting on you
  [9/28/2016 2:30:38 PM] Sebastian Apelbaum: thanks
  [9/28/2016 2:30:44 PM] Sebastian Apelbaum: 1 more minute guys
  [9/28/2016 3:30:28 PM] Sebastian Apelbaum: Make sure you book for tomorrow
  [9/29/2016 9:19:37 AM] stephen lohbeck: I have completed step 3


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  [9/29/2016 9:30:28 AM] Sebastian Apelbaum: great will see you on the group call tonight :)
  [9/29/2016 2:28:05 PM] Sebastian Apelbaum: See you on the call in a phew minutes
  [9/29/2016 2:55:39 PM] Sebastian Apelbaum: You missed the call today
  [9/29/2016 3:31:06 PM] stephen lohbeck: sorry i missed it
  [9/29/2016 3:31:24 PM] stephen lohbeck: forgot
  [9/30/2016 9:07:39 AM] stephen lohbeck: r u blocking me from loggin in
  [9/30/2016 9:29:34 AM] Sebastian Apelbaum: no
  [9/30/2016 11:32:36 AM] stephen lohbeck: well i can't login
  [9/30/2016 11:44:06 AM] stephen lohbeck: well i am in but i do not see step 4
  [9/30/2016 11:45:33 AM] stephen lohbeck: can't access step 4
  [9/30/2016 12:31:35 PM] Sebastian Apelbaum: Thats because u didnt come to the meeting yesterday we
  need to talk before i open steps make sure you are on the group call today
  [9/30/2016 1:20:48 PM] Sebastian Apelbaum: I have 1 more spot left for tonights groups call
  [9/30/2016 2:22:29 PM] stephen lohbeck: ok i am here
  [9/30/2016 2:22:43 PM] stephen lohbeck: where do i login
  [9/30/2016 2:27:26 PM] Sebastian Apelbaum: I don't see you on the group call please log in
  [9/30/2016 2:28:10 PM] stephen lohbeck: where is it
  [9/30/2016 2:28:33 PM] Sebastian Apelbaum: you had to register for it but here is the link
  [9/30/2016 2:28:34 PM] Sebastian Apelbaum: https://zoom.us/j/819583153
  [9/30/2016 2:31:11 PM] stephen lohbeck: i went there
  [9/30/2016 2:31:21 PM] stephen lohbeck: zoom right
  [9/30/2016 2:31:33 PM] Sebastian Apelbaum: yes
  [9/30/2016 2:31:42 PM] stephen lohbeck: no one there
  [9/30/2016 2:32:09 PM] Sebastian Apelbaum: we are there we have not started the call yet
  [9/30/2016 2:32:26 PM] stephen lohbeck: ok thanks
  [9/30/2016 4:16:55 PM] stephen lohbeck: I have completed step 4
  [9/30/2016 4:21:49 PM] stephen lohbeck: where do i schedule
  [10/1/2016 9:51:08 AM] *** Call to Sebastian Apelbaum, no answer. ***
  [10/3/2016 12:24:03 PM] Sebastian Apelbaum: Hello did you join the call for today?
  [10/3/2016 12:24:08 PM] Sebastian Apelbaum: I don't see you on the calander
  [10/3/2016 12:28:09 PM] stephen lohbeck: yes
  [10/3/2016 12:29:03 PM] Sebastian Apelbaum: I cancel that you booked the wrong appointment
  [10/3/2016 12:29:58 PM] stephen lohbeck: what
  [10/3/2016 12:30:11 PM] stephen lohbeck: then where do i schedule
  [10/3/2016 12:30:54 PM] stephen lohbeck: r u there?
  [10/3/2016 12:32:39 PM] Sebastian Apelbaum:
  I sent you the link also by email. You booked a 5 minute welcome call when you had to book a Group call
  [10/3/2016 12:33:06 PM] Sebastian Apelbaum: Once again here is the link http://meetme.so/DAILIY-
  CHECK-IN-PM
  [10/4/2016 7:21:33 AM] stephen lohbeck: Please inform whoever called me at 6 am that i do not need a
  wake up call nor a reminder that i have a meeting today thanks
  [10/4/2016 7:50:36 AM] Sebastian Apelbaum: OK will it was my assistant
  [10/4/2016 7:50:40 AM] Sebastian Apelbaum: sorry about that
  [10/4/2016 7:51:59 AM] Sebastian Apelbaum: Please inform whoever called me at 6 am that i do not
  need a wake up call nor a reminder that i have a meeting today thanks
  [10/5/2016 10:29:07 AM] stephen lohbeck: I have completed steps 5 and 6a
  [10/5/2016 1:58:19 PM] Sebastian Apelbaum: Hello did you book the call for today?
  [10/5/2016 2:25:57 PM] Sebastian Apelbaum: https://zoom.us/j/819583153
  [10/6/2016 2:22:24 PM] Sebastian Apelbaum: Starting call now are you in?
  [10/6/2016 2:22:47 PM] stephen lohbeck: yes
  [10/6/2016 2:49:58 PM] Sebastian Apelbaum: 6B is not open
  [10/6/2016 2:52:05 PM] Sebastian Apelbaum: is now open sorry
  [10/6/2016 9:53:06 PM] Sebastian Apelbaum: http://meetme.so/STRATEGYSESSION30MINUTECALL
  [10/7/2016 8:39:48 AM] Sebastian Apelbaum: Hello did you book your 30 minuite call?
  [10/7/2016 9:04:20 AM] stephen lohbeck: I cannot open step 6B
  [10/7/2016 9:24:56 AM] stephen lohbeck: I still cannot open step 6b
  [10/7/2016 9:37:17 AM] Sebastian Apelbaum: Is open I see it now. Make sure you log out and log back in


                                                                                                     EX 9
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  [10/7/2016 9:37:59 AM] stephen lohbeck: ok
  [10/7/2016 9:38:21 AM] Sebastian Apelbaum: let me know if that works
  [10/7/2016 9:53:18 AM] stephen lohbeck: well I restarted my computer yet I still cannot open step 6B
  [10/7/2016 9:55:27 AM] Sebastian Apelbaum: Let me check
  [10/7/2016 9:55:45 AM] stephen lohbeck: ok
  [10/7/2016 9:55:47 AM] Sebastian Apelbaum: try now please
  [10/7/2016 9:56:06 AM] stephen lohbeck: nothing
  [10/7/2016 9:56:28 AM] Sebastian Apelbaum: og out
  [10/7/2016 9:56:30 AM] Sebastian Apelbaum: log out
  [10/7/2016 9:56:33 AM] Sebastian Apelbaum: Log back in
  [10/7/2016 9:56:40 AM] stephen lohbeck: ok
  [10/7/2016 9:58:26 AM] Sebastian Apelbaum: Let me know I have someone from support here with em
  [10/7/2016 9:58:27 AM] Sebastian Apelbaum: me
  [10/7/2016 10:01:51 AM] Sebastian Apelbaum: ?
  [10/7/2016 10:02:45 AM] stephen lohbeck: now i cannot login
  [10/7/2016 10:04:28 AM] stephen lohbeck: finally i am login
  [10/7/2016 10:04:37 AM] Sebastian Apelbaum: We just log in to your account and 6b is workin
  [10/7/2016 10:04:48 AM] Sebastian Apelbaum: is 6 B open?
  [10/7/2016 10:05:34 AM] stephen lohbeck: just a minute
  [10/7/2016 10:09:52 AM] stephen lohbeck: still won't open
  [10/7/2016 10:11:03 AM] Sebastian Apelbaum: what is it telling you
  [10/7/2016 10:11:45 AM] stephen lohbeck: i click on the arrow at step 6b and nothing happens
  [10/7/2016 10:11:50 AM] Sebastian Apelbaum: what browser are you using?
  [10/7/2016 10:11:57 AM] stephen lohbeck: firefox
  [10/7/2016 10:12:01 AM] Sebastian Apelbaum: use chrome
  [10/7/2016 10:12:06 AM] stephen lohbeck: ok
  [10/7/2016 10:12:10 AM] Sebastian Apelbaum: let me know
  [10/7/2016 10:17:10 AM] stephen lohbeck: ok works in chrome thanks
  [10/7/2016 10:17:29 AM] Sebastian Apelbaum: awesome
  [10/7/2016 11:11:30 AM] stephen lohbeck: I have completed step 6B
  [10/7/2016 11:33:02 AM] Sebastian Apelbaum: great did u book the 30 minute call
  [10/8/2016 7:40:46 AM] stephen lohbeck: yes
  [10/8/2016 7:58:26 AM] stephen lohbeck: where is zoom
  [10/8/2016 7:59:20 AM] Sebastian Apelbaum: No zoom today we will do the call on Skype
  [10/8/2016 7:59:40 AM] stephen lohbeck: oh ok
  [10/8/2016 8:01:10 AM] *** Call from Sebastian Apelbaum ***
  [10/8/2016 8:01:41 AM] *** Call ended, duration 00:32 ***
  [10/8/2016 8:01:52 AM] *** Call to Sebastian Apelbaum ***
  [10/8/2016 8:02:25 AM] *** Call ended, duration 00:33 ***
  [10/8/2016 8:02:31 AM] Sebastian Apelbaum: can u hear me I hear you
  [10/8/2016 8:02:36 AM] stephen lohbeck: no
  [10/8/2016 8:02:49 AM] Sebastian Apelbaum: something wrong on your end
  [10/8/2016 8:03:01 AM] *** Call to Sebastian Apelbaum ***
  [10/8/2016 8:03:07 AM] *** Call ended, duration 00:06 ***
  [10/8/2016 8:03:23 AM] *** Call from Sebastian Apelbaum ***
  [10/8/2016 8:03:36 AM] *** Call ended, duration 00:14 ***
  [10/8/2016 8:03:43 AM] Sebastian Apelbaum: problem is in your end
  [10/8/2016 8:03:57 AM] stephen lohbeck: maybe i didn't pay
  [10/8/2016 8:03:59 AM] Sebastian Apelbaum: I called from my cell and u cannot hear me
  [10/8/2016 8:04:14 AM] Sebastian Apelbaum: Skype is free
  [10/8/2016 8:04:27 AM] Sebastian Apelbaum: Check your options and see it its working
  [10/8/2016 8:04:31 AM] Sebastian Apelbaum: go to tools
  [10/8/2016 8:04:34 AM] stephen lohbeck: try cell again
  [10/8/2016 8:04:37 AM] Sebastian Apelbaum: options
  [10/8/2016 8:04:52 AM] Sebastian Apelbaum: Audio settings
  [10/8/2016 8:04:55 AM] *** Call to Sebastian Apelbaum ***
  [10/8/2016 8:05:01 AM] *** Call ended, duration 00:06 ***


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  [10/8/2016 8:05:05 AM] Sebastian Apelbaum: I hear you
  [10/8/2016 8:05:19 AM] *** Call to Sebastian Apelbaum ***
  [10/8/2016 8:05:30 AM] *** Call ended, duration 00:11 ***
  [10/8/2016 8:05:40 AM] *** Call from Sebastian Apelbaum ***
  [10/8/2016 8:05:51 AM] *** Call ended, duration 00:12 ***
  [10/8/2016 8:06:22 AM] stephen lohbeck: call cell 916-470-2624
  [10/8/2016 8:06:38 AM] *** Call to Sebastian Apelbaum, no answer. ***
  [10/8/2016 10:29:10 AM] stephen lohbeck: step 7 is not open
  [10/9/2016 9:18:21 AM] stephen lohbeck: if everything is done for me what do i do?
  [10/9/2016 9:18:44 AM] stephen lohbeck: get leads that is traffic do not u teach how to get traffic
  [10/9/2016 9:26:29 AM] Sebastian Apelbaum: Yes we teach you how to get traffic
  [10/9/2016 9:26:40 AM] Sebastian Apelbaum: Ans where to get it
  [10/9/2016 9:26:57 AM] Sebastian Apelbaum: Thata what the training is all about
  [10/9/2016 11:44:46 AM] stephen lohbeck: step 7 is still locked
  [10/9/2016 11:58:16 AM] Sebastian Apelbaum: Let me check
  [10/9/2016 12:37:09 PM] stephen lohbeck: please unlock step 7
  [10/9/2016 1:11:48 PM] Sebastian Apelbaum: 7 and 8 are now opwn
  [10/9/2016 1:12:05 PM] stephen lohbeck: thanks
  [10/9/2016 1:32:40 PM] Sebastian Apelbaum: YW
  [10/10/2016 12:15:05 PM] stephen lohbeck: I have completed steps 7 and 8
  [10/10/2016 12:54:15 PM] Sebastian Apelbaum: Great how is the funding coming along?
  [10/10/2016 12:54:48 PM] stephen lohbeck: still searching
  [10/10/2016 12:55:17 PM] Sebastian Apelbaum: ok keep me posted
  [10/12/2016 9:32:36 AM] stephen lohbeck: please open step 9
  [10/12/2016 9:32:55 AM] stephen lohbeck: I bought into climber
  [10/12/2016 9:33:04 AM] stephen lohbeck: still working on a loan
  [10/12/2016 9:33:52 AM] Sebastian Apelbaum: I will recommend you do that with Joe Kennedy when you
  get to Rise
  [10/14/2016 1:54:04 PM] stephen lohbeck: ok
  [10/14/2016 1:54:30 PM] Sebastian Apelbaum: How is that coming along?
  [10/14/2016 2:40:40 PM] stephen lohbeck: the loan is not coming through
  [10/14/2016 2:40:49 PM] stephen lohbeck: i just get the run around
  [10/14/2016 2:41:00 PM] stephen lohbeck: i need official lendsers
  [10/14/2016 2:41:18 PM] Sebastian Apelbaum: DId you see the email I sent you?
  [10/14/2016 2:41:26 PM] stephen lohbeck: not an agency that supposedly sends me to lenders
  [10/14/2016 2:41:37 PM] stephen lohbeck: just now no
  [10/14/2016 2:41:55 PM] stephen lohbeck: my score is 738
  [10/14/2016 2:42:02 PM] stephen lohbeck: so i do qualify
  [10/14/2016 2:42:11 PM] Sebastian Apelbaum: Yes you should
  [10/14/2016 2:43:17 PM] Sebastian Apelbaum: I sent you an email just now with funding options
  [10/14/2016 2:43:24 PM] Sebastian Apelbaum: try them and see what you can do
  [10/14/2016 2:43:32 PM] Sebastian Apelbaum: Also credit Karma can help you too
  [10/14/2016 2:43:39 PM] stephen lohbeck: send it again please
  [10/14/2016 2:44:03 PM] Sebastian Apelbaum: Just did
  [10/14/2016 2:44:07 PM] stephen lohbeck: ok i got it
  [10/14/2016 2:44:10 PM] stephen lohbeck: thanks
  [10/14/2016 2:44:15 PM] Sebastian Apelbaum: See what you can do with that
  [10/14/2016 2:44:18 PM] Sebastian Apelbaum: You have a good score
  [10/14/2016 5:04:38 PM] stephen lohbeck: If i have 10,000 visitors to my capture page will i earn any
  commissions
  [10/14/2016 6:53:44 PM] Sebastian Apelbaum: Yes when they buy rise
  [10/20/2016 2:53:19 PM] stephen lohbeck: so you are saying people do not get paid commissions as an
  aspire climber
  [10/21/2016 8:11:45 AM] Sebastian Apelbaum: Yes they do but is not the money you want to make. Plus
  you have to do all the work yourself
  [10/21/2016 8:16:50 AM] Sebastian Apelbaum: As Aspire is a 1 dollar trial do you make. 37 cents on that
  then a porcentaje of 37.00 per month if they stay in the program after the 14 day trial


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  [10/21/2016 9:25:14 AM] stephen lohbeck: thanks coach
  [10/21/2016 9:25:43 AM] stephen lohbeck: If i buy base will i earn base commissions?
  [10/21/2016 10:00:48 AM] Sebastian Apelbaum: Yes but base is included for free when you get rise
  [11/16/2016 9:52:50 AM] stephen lohbeck: hi
  [11/16/2016 9:54:04 AM] Sebastian Apelbaum: Hello how are you?
  [11/16/2016 9:54:57 AM] Sebastian Apelbaum: How are things coming along?
  [11/16/2016 9:55:37 AM] stephen lohbeck: i am still trying to get the capital
  [11/16/2016 9:55:47 AM] Sebastian Apelbaum: How is that been going?
  [11/16/2016 9:55:48 AM] stephen lohbeck: maybe next month
  [11/16/2016 9:55:50 AM] Sebastian Apelbaum: Any luk
  [11/16/2016 9:55:57 AM] stephen lohbeck: no luck
  [11/16/2016 9:56:10 AM] Sebastian Apelbaum: how much were you able to raise so far?
  [11/16/2016 9:56:17 AM] stephen lohbeck: nothing
  [11/16/2016 9:56:25 AM] stephen lohbeck: i need a full loan
  [11/16/2016 9:56:34 AM] stephen lohbeck: to cover rise
  [11/16/2016 9:56:50 AM] stephen lohbeck: i know u want to get paid lol
  [11/16/2016 9:56:55 AM] Sebastian Apelbaum: Yes but we can work a payment plan remember we can
  start with 600.00
  [11/16/2016 9:57:13 AM] stephen lohbeck: it is too steep
  [11/16/2016 9:57:27 AM] Sebastian Apelbaum: I understand well keep me posted :)
  [11/16/2016 9:57:30 AM] stephen lohbeck: i only make 1780 per month
  [11/16/2016 9:57:33 AM] Sebastian Apelbaum: I hope you can find the capital
  [11/16/2016 9:57:40 AM] stephen lohbeck: most of it goes to bills
  [11/16/2016 9:57:51 AM] Sebastian Apelbaum: well bills will always keep coming
  [11/16/2016 9:57:59 AM] stephen lohbeck: ok thanks
  [11/16/2016 9:58:13 AM] Sebastian Apelbaum: so you could maybe ask for extensions
  [11/16/2016 9:58:23 AM] Sebastian Apelbaum: and instead of paying bills get your program going
  [11/16/2016 9:58:37 AM] Sebastian Apelbaum: it will all make sense once you start making comissions
  [11/16/2016 9:58:39 AM] stephen lohbeck: sorry can't lose my living space
  [11/16/2016 9:58:51 AM] Sebastian Apelbaum: then you don't have to worry about it
  [11/16/2016 9:59:01 AM] Sebastian Apelbaum: understand
  [11/16/2016 9:59:08 AM] Sebastian Apelbaum: well keep working at it
  [11/20/2016 9:16:39 AM] stephen lohbeck: r u a digital altutude member?
  [11/20/2016 9:16:45 AM] stephen lohbeck: what level
  [11/20/2016 9:30:55 AM] stephen lohbeck: how much money do u earn?
  [11/20/2016 6:48:16 PM] Sebastian Apelbaum: I am APEX earning over 6 figures a year.
  [11/20/2016 7:28:41 PM] stephen lohbeck: nice
  [4/28/2017 9:16:34 AM] stephen lohbeck: i should have the money for rise by 5/20
  [4/28/2017 9:16:51 AM] stephen lohbeck: but when i login i cannot upgrade why
  [4/28/2017 9:17:14 AM] Sebastian Apelbaum: Hello how are you?
  [4/28/2017 9:17:18 AM] Sebastian Apelbaum: Good to hear from you
  [4/28/2017 9:17:38 AM] Sebastian Apelbaum: that is good news
  [4/28/2017 9:18:25 AM] Sebastian Apelbaum: what you mean you cannot upgrade when you login?
  [4/28/2017 9:26:51 AM] stephen lohbeck: everthing is locked
  [4/28/2017 9:27:00 AM] stephen lohbeck: i have no rank
  [4/28/2017 9:27:26 AM] stephen lohbeck: everything
  [4/28/2017 9:28:52 AM] stephen lohbeck: Sebastian r u there?
  [4/28/2017 9:31:18 AM] Sebastian Apelbaum: I am here
  [4/28/2017 9:31:38 AM] Sebastian Apelbaum: let me check for you give me your email please?
  [4/28/2017 9:31:53 AM] stephen lohbeck: ok steve
  [5/1/2017 12:59:35 PM] Sebastian Apelbaum: Hello
  [5/1/2017 2:16:10 PM] stephen lohbeck: i made an appointment and u never called?????
  [5/1/2017 2:16:55 PM] stephen lohbeck: will steps 9, 10, 11, and 12 be unlocked after i pay for rise????
  [5/1/2017 2:52:56 PM] Sebastian Apelbaum: Yes
  [5/1/2017 2:53:13 PM] Sebastian Apelbaum: Step 9 will and then Joe Kennedy will start opening the next
  steps for you
  [5/1/2017 2:53:23 PM] Sebastian Apelbaum: so you will be ready by 5/20 you said or sooner?


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  [5/1/2017 5:02:47 PM] stephen lohbeck: i should be yes
  [5/2/2017 8:38:18 AM] *** Call from Sebastian Apelbaum ***
  [5/2/2017 8:38:18 AM] *** Call ended ***
  [5/2/2017 8:38:47 AM] Sebastian Apelbaum: Hello Steven how are you?
  [5/2/2017 8:39:03 AM] Sebastian Apelbaum: The day we had the appointment you had to call me I am so
  sorry for the confusion
  [5/2/2017 8:39:10 AM] Sebastian Apelbaum: I am here to help you with this program
  [5/2/2017 8:39:25 AM] Sebastian Apelbaum: again please take my senciere appologies
  [5/2/2017 9:53:15 AM] stephen lohbeck: ok thanks
  [5/2/2017 9:53:51 AM] stephen lohbeck: question after i buy rise and da does all the selling etc when can
  i expect a sale?
  [5/2/2017 9:54:25 AM] stephen lohbeck: do i have to buy traffic?
  [5/2/2017 12:56:14 PM] Sebastian Apelbaum: It could take 30 to 60 days and yes you have have to
  Advertise and buy traffic
  [5/3/2017 10:38:40 AM] stephen lohbeck: how do i promote da
  [5/3/2017 10:38:49 AM] stephen lohbeck: ?????
  [5/3/2017 10:39:33 AM] stephen lohbeck: is da still paying out $1 commissions or not?
  [6/5/2017 7:25:02 AM] Sebastian Apelbaum: Hello Steve congrats
  [6/5/2017 7:25:16 AM] Sebastian Apelbaum: I see that you got RISE
  [6/6/2017 1:04:09 PM] stephen lohbeck: yes now i need some advise on promoting
  [7/17/2017 6:37:16 AM] stephen lohbeck: i bought traffic from clixli 200 clicks and i got 0 sales why????




                                                                                                       EX 9
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                          Attachment B




                                                                       EX 9
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  [6/2/2017 8:25:50 AM] *** Jamie Dent added 8Joe Kennedy, stephen lohbeck ***
  [6/2/2017 8:25:50 AM] *** Jamie Dent enabled joining this conversation. ***
  [6/2/2017 8:27:01 AM] Jamie Dent: Hi Steve,

  You have been unlocked through Step 12 and sent an email titled Goal Worksheet. The email contacts a
  link to watch The Secret as well as an attached goal worksheet. Do the first two sections of the goal
  worksheet. Please schedule yourself for the feedback call by using the link below:

  http://meetme.so/FeedbackMeeting
  [6/5/2017 9:09:28 AM] stephen lohbeck: ok
  [6/5/2017 9:09:46 AM] Jamie Dent: Hi Stephen,
  I will be connecting with you shortly
  [6/5/2017 9:10:07 AM] stephen lohbeck: ok
  [6/5/2017 9:41:06 AM] Jamie Dent: Hi Stephen,

  You have been unlocked to Step 13. You should be receiving an email titled Step 12 & 13 training video.
  Watch the video after you have completed Step 13. Please use the link below to schedule yourself for
  the feedback call:

  http://meetme.so/FeedbackMeeting
  [6/5/2017 9:41:26 AM] stephen lohbeck: thanks
  [6/6/2017 10:31:04 AM] stephen lohbeck: I have completed step 13
  [6/6/2017 11:41:40 AM] Jamie Dent: Great! We will see you on the call tonight.
  [6/6/2017 11:41:57 AM] stephen lohbeck: ok
  [6/6/2017 5:00:36 PM | Edited 5:00:59 PM] Jamie Dent: Hi Stephen,

  You have been unlocked to Step 14. You will need to work on your goal worksheet over to make sure
  Sections 1 & 2 are done

  Also, please schedule yourself for the Business Prep Call which will be on Thursday, 8 June 2017, at 6:00
  PM CST by using the link below I do not get the link for this call sent to me so you will need to save it
  when you get the email confirmation

  https://app.webinarjam.net/register/26249/7ba410d3e2

  Please send a message once you have scheduled yourself
  [6/7/2017 7:03:54 AM] stephen lohbeck: i am now registered
  [6/7/2017 7:15:49 AM] stephen lohbeck: i have completed step 14
  [6/7/2017 7:22:09 AM] 8Joe Kennedy: (highfive)
  [6/7/2017 7:22:36 AM] stephen lohbeck: :)
  [6/7/2017 4:19:44 PM] Jamie Dent: Hi Stephen,

  This is a friendly reminder that you have the feedback call coming up in 10 mins. You can find the link to
  access the call in the email confirmation that was sent when you booked the meeting.
  [6/8/2017 7:07:14 AM] stephen lohbeck: is step 15 going to be unlocked??????
  [6/8/2017 7:11:52 AM] Jamie Dent: Hi Stephen,
  As I explained yesterday, Step 15 will be unlocked after you attend the Business Prep Call which you are
  schedule for at 6 pm CST tonight. Make sure that you have the link that was sent to you via email as I do
  not get them.
  [6/8/2017 3:47:22 PM] Jamie Dent: Hi Stephen,

  Remember that you have your Business Prep Call that is coming up in 15 mins. Please use the link to


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  access the call that was sent to your email.
  [6/8/2017 3:48:01 PM] stephen lohbeck: hi
  [6/8/2017 4:38:04 PM] Jamie Dent: Hi Stephen,

  Thank you for attending the Business Prep Call you have been unlocked through Step 15. Please
  schedule yourself to meet with Joe on Monday, June 12 by using the link below:

  http://meetme.so/7Figure

  Also, please register yourself for the Business Plan Call which will be on Tuesday, 13 June 2017, at 6:00
  PM CST by using the link below:

  https://app.webinarjam.net/register/26249/9bc1bdf0ba

  Please notify us once you have registered for these calls
  [6/9/2017 10:34:39 AM] stephen lohbeck: purpose -- to become rich not to worry about a lack of money
  anymore!
  [6/9/2017 10:35:01 AM] stephen lohbeck: to buy a nice large house with cash money
  [6/9/2017 10:35:16 AM] stephen lohbeck: I have completed step 15
  [6/9/2017 2:17:01 PM] Jamie Dent: Hi Stephen,

  In the message I sent to you yesterday Thursday, June 8th. I had requested that you use the link below
  to schedule an appointment with Joe.

  http://meetme.so/7Figure

  I have cancelled the other meeting you scheduled as it was the wrong link.
  [6/9/2017 2:57:41 PM] stephen lohbeck: ok i attended the meeting it is now june 9
  [6/9/2017 2:58:08 PM] Jamie Dent: The appointment you need to schedule is for Monday
  [6/9/2017 2:58:25 PM] Jamie Dent: Please read the message below that I sent yesterday.

  On 6/8/17, at 4:38 PM, Jamie Dent wrote:
  > Hi Stephen,
  >
  > Thank you for attending the Business Prep Call you have been unlocked through Step 15. Please
  schedule yourself to meet with Joe on Monday, June 12 by using the link below:
  >
  > http://meetme.so/7Figure
  >
  > Also, please register yourself for the Business Plan Call which will be on Tuesday, 13 June 2017, at
  6:00 PM CST by using the link below:
  >
  > https://app.webinarjam.net/register/26249/9bc1bdf0ba
  >
  > Please notify us once you have registered for these calls
  [6/9/2017 2:58:59 PM] stephen lohbeck: ok so many links lol
  [6/9/2017 2:59:23 PM] Jamie Dent: Yes, for each meeting. Get these two scheduled and let me know
  when you do.
  [6/9/2017 3:00:00 PM] stephen lohbeck: done 11:15 monday
  [6/9/2017 3:00:53 PM] Jamie Dent: Schedule yourself for the second one. I still do not see you
  scheduled.
  [6/9/2017 3:00:54 PM] stephen lohbeck: pst
  [6/9/2017 3:01:07 PM] stephen lohbeck: what second one
  [6/9/2017 3:01:31 PM] Jamie Dent: Please read the message below that I sent yesterday.

  > On 6/8/17, at 4:38 PM, Jamie Dent wrote:
  > > Hi Stephen,


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  >>
  > > Thank you for attending the Business Prep Call you have been unlocked through Step 15. Please
  schedule yourself to meet with Joe on Monday, June 12 by using the link below:
  >>
  > > http://meetme.so/7Figure
  >>
  > > Also, please register yourself for the Business Plan Call which will be on Tuesday, 13 June 2017, at
  6:00 PM CST by using the link below:
  >>
  > > https://app.webinarjam.net/register/26249/9bc1bdf0ba
  >>
  > > Please notify us once you have registered for these calls
  [6/9/2017 3:01:36 PM] stephen lohbeck: another business plan for the 13
  [6/9/2017 3:01:47 PM] Jamie Dent: Yes
  [6/9/2017 3:01:54 PM] Jamie Dent: Register for that call please
  [6/9/2017 3:02:55 PM] stephen lohbeck: done
  [6/9/2017 3:03:16 PM] Jamie Dent: Great! Thanks!
  [6/9/2017 3:03:31 PM] stephen lohbeck: ttfn
  [6/12/2017 11:09:29 AM] Jamie Dent: Hi Stephen,

  Your call with Joe will be in 5 mins. Make sure to have your goal worksheet. Below is the link for the call:

  https://www.gotomeeting.com/join/458880941
  [6/12/2017 11:09:56 AM] stephen lohbeck: hi ok
  [6/12/2017 11:18:54 AM] Jamie Dent: HI Stephen,

  Thank you for attending the Goal Worksheet Review. You are already scheduled for tomorrow’s
  Business Plan Call. That link was sent to you in your email confirmation. I do not get that link sent to me.
  [6/12/2017 11:29:36 AM] stephen lohbeck: when will step 16 be unlocked?
  [6/12/2017 11:29:55 AM] Jamie Dent: Step 16 & 17 will be unlocked after the Business Plan tomorrow.
  [6/12/2017 11:30:05 AM] stephen lohbeck: thank you
  [6/12/2017 11:33:14 AM] Jamie Dent: Please schedule yourself for the Marketing Call on Wednesday, 14
  June 2017, at 6:00 PM CST by using the link below:

  https://app.webinarjam.net/register/26249/c04ebf98c2

  Please message when you have done it
  [6/12/2017 12:28:56 PM] stephen lohbeck: done
  [6/13/2017 3:37:09 PM] stephen lohbeck: what is the link for todays meeting?
  [6/13/2017 4:08:22 PM] Jamie Dent: Hi Stephen,
  I do not get that link. It gets emailed to you as each person has their own individual one. Please check
  your email.
  [6/13/2017 4:55:20 PM] Jamie Dent: Hi Stephen,

  Thank you for attending the Business Plan Call, you have been unlocked to Step 17. Please complete
  your goal worksheet and get it emailed over tonight to jkennedy@digitalaltitude.co

  You are all set for the Marketing Call tomorrow.
  [6/14/2017 8:53:15 AM] stephen lohbeck: what is the link for today
  [6/14/2017 3:50:48 PM] Jamie Dent: Hi Stephen,

  This is a friendly reminder that you have the Marketing Meeting coming up in 10 mins. Please make sure
  that you look in your email for the link.
  [6/15/2017 10:37:16 AM] stephen lohbeck: thanks done
  [6/15/2017 10:38:50 AM] Jamie Dent: Hi Stephen,

  How long are you going to be online today? I need to get you scheduled to meet with Joe tomorrow.


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  Also, send over your goal worksheet to jkennedy@digitalaltitude.co
  [6/15/2017 10:39:44 AM] stephen lohbeck: ok
  [6/15/2017 10:56:22 AM] stephen lohbeck: can u unlock step 18
  [6/15/2017 10:58:36 AM] stephen lohbeck: booked for 9:30 am
  [6/15/2017 10:58:45 AM] stephen lohbeck: hopefully it is pst
  [6/15/2017 10:58:50 AM] Jamie Dent: No, it’s a totally different meeting...
  [6/15/2017 10:58:54 AM] Jamie Dent: I will need to cancel that one.
  [6/15/2017 10:59:01 AM] stephen lohbeck: what is the link then
  [6/15/2017 10:59:20 AM] stephen lohbeck: for friday
  [6/15/2017 10:59:24 AM] Jamie Dent: Give me a few minutes like I asked so that I can get you scheduled
  and get that info out to you
  [6/15/2017 10:59:31 AM] stephen lohbeck: ok
  [6/15/2017 10:59:40 AM] stephen lohbeck: can u unlock step 18
  [6/15/2017 11:10:16 AM] Jamie Dent: Stephen,

  I just got you scheduled for 845 am PST. Below is the link you will need to click on to access the call
  tomorrow morning:

  https://www.gotomeet.me/CoachJoe
  [6/15/2017 11:12:54 AM] stephen lohbeck: ok thanks and about step 18
  [6/15/2017 11:13:10 AM] Jamie Dent: That will be unlocked after you meet with Joe tomorrow.
  [6/15/2017 11:13:26 AM] stephen lohbeck: ok
  [6/15/2017 11:30:02 AM] Jamie Dent: Please make sure that you email your goal worksheet to Joe at
  jkennedy@digitialaltitude.co by this evening.
  [6/15/2017 11:30:20 AM] stephen lohbeck: ok
  [6/16/2017 8:33:32 AM] Jamie Dent: The Marketing Meeting Review with Joe is starting in 10 mins.
  Please use the link below to access the call:

  Please use the link below to access that call:

  https://www.gotomeet.me/CoachJoe
  [6/16/2017 11:06:00 AM] stephen lohbeck: I attended the meeting yet step 18 is still locked
  [6/16/2017 6:24:57 PM] Jamie Dent: Hi Stephen,

  You have been unlocked and a email sent regarding Traffic Training.
  [6/17/2017 5:54:32 PM] stephen lohbeck: i have completed step 18
  [6/19/2017 8:21:03 AM] stephen lohbeck: when do i get a traffic coach?
  [6/19/2017 8:22:13 AM] 8Joe Kennedy: I will send you an email today with a way to get scheduled for it
  Stephen
  [6/19/2017 8:22:28 AM] stephen lohbeck: ok
  [6/19/2017 11:22:05 AM] Jamie Dent: Hi Stephen,
  All of your traffic training has been unlocked. YOU can find it on your DA Dashboard when you log in on
  the Right hand side you will see Training and all traffic steps are unlocked.

  You have also been sent a email titled Updated Traffic Training.
  [6/25/2017 6:43:16 PM] stephen lohbeck: so now what ? just buy traffic????
  [6/25/2017 8:16:30 PM] 8Joe Kennedy: Have you done all of your traffic training?
  [6/26/2017 10:33:56 AM] stephen lohbeck: yes
  [6/28/2017 7:46:24 AM] 8Joe Kennedy: open the email from clixli
  [6/29/2017 8:08:56 AM] stephen lohbeck: ok
  [6/29/2017 8:09:26 AM] stephen lohbeck: :D
  [7/14/2017 7:42:46 AM] stephen lohbeck: please respond
  [7/14/2017 7:43:13 AM] Jamie Dent: Respond to what Stephen? I do not see a question.
  [7/14/2017 7:43:52 AM] stephen lohbeck: i bought traffic from clixli and got 0 sales why?
  [7/14/2017 7:44:25 AM] stephen lohbeck: is there a live traffic coach i can ask?
  [7/14/2017 7:48:46 AM] 8Joe Kennedy: Yes you will need to figure out what happened and why such low
  conversions because you maybe the only one that has had that type of result. Something needs fixing, I


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  would suggest paying for a private coach to walk you through it. There time is valuable because their
  results in helping you are valuable.
  [7/14/2017 7:48:59 AM] 8Joe Kennedy: http://www.datrafficcoach.com
  [7/14/2017 7:49:37 AM] stephen lohbeck: wow u mean my capture page is wrong or something
  [7/14/2017 7:50:19 AM] 8Joe Kennedy: I have no idea Stephen as I am not a traffic guy, I would suggest
  going to the free trainings with clixli and discovering what is happening or click on that link and pay to
  have someone go through it with you.
  [7/14/2017 7:50:33 AM] stephen lohbeck: thanks Joe
  [7/14/2017 7:53:11 AM] 8Joe Kennedy: Absolutely




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                          Attachment C




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  [5/31/2017 8:29:48 PM] *** stephen lohbeck would like to add you on Skype

  Hi 8Joe Kennedy, I'd like to add you as a contact. ***
  [5/31/2017 8:30:10 PM] stephen lohbeck: i am now a rise member and need you to unlock the steps
  [5/31/2017 8:30:51 PM] *** Call to 8Joe Kennedy, no answer. ***
  [6/1/2017 7:14:47 AM] *** stephen lohbeck would like to add you on Skype

  Hi 8Joe Kennedy, I'd like to add you as a contact. ***
  [6/1/2017 9:00:01 AM] *** Call from 8Joe Kennedy ***
  [6/1/2017 9:10:48 AM] 8Joe Kennedy: http://meetme.so/FeedbackMeeting
  [6/1/2017 9:11:58 AM] *** Call ended, duration 11:57 ***
  [6/1/2017 9:45:37 AM] stephen lohbeck: I have completed steps 9 and 10
  [6/1/2017 10:29:40 AM] 8Joe Kennedy: Terrific meet you tomorrow
  [6/2/2017 7:52:40 AM] stephen lohbeck: steps 11-13 are not unlocked
  [6/2/2017 7:55:04 AM] 8Joe Kennedy: be patient
  [6/2/2017 7:55:19 AM] stephen lohbeck: ok
  [6/7/2017 2:07:35 PM] *** Call from 8Joe Kennedy ***
  [6/7/2017 2:12:35 PM] *** Call ended, duration 04:59 ***
  [6/13/2017 3:41:39 PM] stephen lohbeck: what is the link for todays meeting?
  [6/13/2017 5:32:36 PM] stephen lohbeck: I have completed steps 16 and 17
  [6/14/2017 7:18:36 AM] 8Joe Kennedy: terrific lets connect today
  [6/14/2017 8:53:30 AM] stephen lohbeck: what is the link
  [6/16/2017 2:30:15 PM] stephen lohbeck: please unlock step 18
  [6/20/2017 8:01:08 AM] 8Joe Kennedy: Good morning I show it unlocked
  [6/25/2017 6:43:57 PM] stephen lohbeck: so now what???? just buy traffic????
  [6/29/2017 7:53:17 AM] stephen lohbeck: am i suppose to buy traffic only from clixli? and how do i track
  it?
  [6/29/2017 7:54:30 AM] 8Joe Kennedy: they have awesome trainings to answer those questions better
  than me , you got an email from Michael explaining there is a training tonight to help explain. Do you see
  that?
  [6/29/2017 7:54:57 AM] stephen lohbeck: no i didn't
  [6/29/2017 7:55:06 AM] stephen lohbeck: can it be sent again
  [6/29/2017 7:55:08 AM] 8Joe Kennedy: look again because it may be in your spam folder
  [6/29/2017 7:55:17 AM] stephen lohbeck: ok
  [6/29/2017 7:55:19 AM] 8Joe Kennedy: I just sent it from my account to you. take a look and register for
  it.
  [6/29/2017 7:55:26 AM] stephen lohbeck: ok
  [6/29/2017 7:58:11 AM] stephen lohbeck: got it thanks
  [7/8/2017 7:33:05 AM] stephen lohbeck: I bought 200 clicks from clixli yet got only 3 sales is this really
  good traffic????
  [7/20/2017 7:45:17 AM] stephen lohbeck: i heard there is a lawsuit against da with mobe
  [7/20/2017 7:46:20 AM] stephen lohbeck: i will be filing my own lawsuit against da for refund of my money
  for rise plus monthly fees, advestising fees, traffic fees etc total $4000
  [7/20/2017 7:58:23 AM] 8Joe Kennedy: ?
  [7/20/2017 8:13:47 AM] stephen lohbeck: now u r playing dumb
  [7/20/2017 8:20:57 AM] 8Joe Kennedy: Ok Stephen
  [7/20/2017 8:34:04 AM] stephen lohbeck: not to mention criminal charges against all u associates with da
  because i am reporting da to the FBI
  [7/20/2017 9:04:47 AM] 8Joe Kennedy: Understand, take that effort and apply it to work and you will
  benefit tremendously.
  [7/20/2017 9:05:32 AM] stephen lohbeck: lol da will shut down in a month after the judge's ruling
  [7/20/2017 9:05:50 AM] 8Joe Kennedy: Ok


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  [7/20/2017 9:05:58 AM] 8Joe Kennedy: Goodbye and take care
  [7/20/2017 12:08:43 PM] stephen lohbeck: u r going to prison
  [8/19/2017 8:03:04 AM] stephen lohbeck: i need help to make da work
  [8/31/2017 3:41:17 PM] stephen lohbeck: no help period............................
  [8/31/2017 3:41:24 PM] stephen lohbeck: need to tell michael
  [9/17/2017 10:13:28 AM] stephen lohbeck: so michael force use to be with MTTB
  [9/18/2017 11:35:05 AM] stephen lohbeck: fraud
  [9/30/2017 11:07:36 AM] stephen lohbeck: digital altitude is a pyramid scheme and i am suing the
  company and i am suing michael force personally!!!




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1                       DECLARATION OF MARCELE MIGUEL
2            1.     My name is Marcele (“Mell”) Miguel. I live in Texas. The following
3      statements are within my personal knowledge.
4            2.     In or about June 2017, I got a message on Instagram from a recruiter
5      for Digital Altitude. Her name is Diana Chen. She said she was reaching out to me
6      because she saw from my Instagram account that I like to travel, and she asked me
7      what I do for a living, and whether I would like to do something online to get
8      income that would give me more freedom to travel. Because I really wanted a way
9      to earn money so I could travel and spend time with my family in Brazil, I said I
10     was interested. Diana said that was great, and that Digital Altitude would train me
11     from the beginning to the end. She said she would be my sponsor/mentor
12     throughout the whole process and that Digital Altitude would make me successful.
13     Diana told me the program cost $37 a month. In a Facebook chat group, Digital
14     Altitude said it was a family, and that sounded very appealing. Attachment A
15     consists of true and accurate copies of screenshots from conversations I had with
16     Diana about Digital Altitude.
17           3.     Diana was very convincing. I believed her when she said Digital
18     Altitude would make me a success. I also saw people in videos and online saying
19     they had made a lot of money, like they had just made $3,000 today with Digital
20     Altitude. There was a video of a guy leaving his mansion and driving to the bank,
21     and depositing over $80,000 in his account. It is at this link:
22     https://m.youtube.com/watch?v=d1Fd-69oC80. That video was very persuasive. In
23     the videos, people talked about buying fancy cars with the money they made from
24     Digital Altitude, and one even said that Digital Altitude bought him a brand new
25     BMW. That video is at this link: https://m.youtube.com/watch?v=C-m7AhxCXxw.
26     The videos made me believe that people really made a lot of money with Digital
27     Altitude and that I could make money too.
28


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1               4.   The first thing I got was a trial, which was two weeks for one dollar.
2      During the two weeks, you start communicating with a coach through Skype. My
3      coach was Oliver Correa. He said he was in Portugal.
4               5.   As soon as you join Digital Altitude, you have your own online
5      profile, and you’re already part of Digital Altitude. It’s exciting at the beginning.
6               6.   Oliver unlocked videos that I watched. They are part of the training,
7      but they are really just sales presentations. I spoke to Oliver about three or four
8      times.
9               7.   In the videos, Michael Force says to dream big and take your business
10     to the next level, and he talks about positioning yourself to a higher level. The
11     videos say to take Digital Altitude as your business, and the money you spend on it
12     will be an investment toward your success. He compares it to having a franchise,
13     like with McDonald’s. The videos also promise training, and say you’re going to
14     have a coach through the whole process.
15              8.   The two week trial doesn’t really go for two weeks. Around the third
16     day, my coach was calling me, saying I should get the highest level. He said
17     something like “you’re not going to make money unless you go to a higher level.”
18     Oliver was really pressing me to start spending money and go to the next level. He
19     said something like, “We only work with people if you go to the next level.” He
20     also said if you don’t get the highest level, you’re not going to make money. I
21     asked what if I’m not ready? He said I would not make any money.
22              9.   Oliver convinced me to pay about $2,066, which includes an
23     administration fee, for the next level, called Rise. I also saw videos and
24     testimonials that convinced me to buy Rise, including a video showing Michael
25     Force’s beautiful house in Malibu, and saying that he traveled all over the world.
26     Attachment B consists of true and accurate copies of screen shots from the Digital
27     Altitude Facebook page that I took on or about October 26, 2017, which are similar
28     to promotions I saw that convinced me to join Rise. Oliver told me it was the best


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1      decision of my life. Then he disappeared and I got another coach. I think his name
2      was Ash Ali.
3              10.    At that point, you don’t just pay for the level – they make you spend
4      $127 a month for the membership, plus $17 a month just to promote their link.
5      Digital Altitude just raised the prices for membership recently. I also had to pay
6      other expenses -- $100 for my website domain, and another $50 a month to spend
7      on another website called autoresponders.com. I also spent money for a sales page
8      through onlinesalespro.com. Attachment C consists of true and accurate copies of
9      my receipts for $2,066 for Rise, plus $127 and $17 fees, plus $98.35 to
10     SiteGround, to create my own personal link. I even bought a new laptop computer,
11     for about $260, because my iPad wouldn’t support my materials that I thought I
12     needed to become successful with Digital Altitude. If I had not joined Digital
13     Altitude, I would not have spent money on a new computer.
14             11.    My new coach unlocked more videos for me to watch. One of them
15     was a “secret movie” which the coach and Michael Force said will change your
16     life. The movie tells you to think positive and think about making change in your
17     life.
18             12.    I participated in about two or three video group calls with Ash Ali. He
19     asked how much we would like to make. People said ten or twenty thousand
20     dollars or even fifty or a hundred thousand a month. Ash said to do that, we had to
21     go to another level. The next level cost $10,000. Ash said things like, “Don’t be
22     scared. You have to make things happen. It’s for your future, you’re going to build
23     an empire.” He was annoying and very pushy. He told me to get a loan if I didn’t
24     have the $10,000. He said Digital Altitude had a partnership with a bank and he
25     would send me a link if I wanted to get a loan. I was almost convinced to do it, but
26     my boyfriend thought it was a bad idea, and I told Ash I was going to stick with the
27     $2,000 plan. Then the coach disappeared. I called him, but he never replied. If I
28     was ready for the $10,000, I think he would have been there. I was totally lost. I


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1      had not gotten training or coaching. The videos they had me watch did not train me
2      for anything. They were just about changing your mind set. I didn’t know what to
3      do.
4            13.    Digital Altitude’s coaches are really just salespeople. They brainwash
5      you. The coaches create a pressure situation – they don’t leave you alone until you
6      open your wallet. Then if you don’t pay more, they disappear and leave you
7      hanging.
8            14.    After I realized I was not getting results, I started to believe Digital
9      Altitude was just a pyramid scheme and a scam. I think the only people who make
10     money are the ones who joined in the beginning, or who spend a lot of money.
11     Digital Altitude doesn’t sell products; they just sell dreams.
12           15.    I know other people who have been scammed by Digital Altitude.
13     There are people who sell their cars or houses to buy into Digital Altitude’s levels.
14     Some people apply for loans and credit cards to join – they use their savings
15     accounts for their children to become part of Digital Altitude, and then they lose
16     their money. There is a group on Facebook of people who discuss this with each
17     other. Attachment D consists of screen shots of parts of conversations I saw on
18     Facebook.
19           16.    In October 2017, my mentor Diana Chen said on Facebook that at a
20     recent event in Las Vegas, one of the speakers said he had made $150 million in
21     sales with Digital Altitude. Attachment E consists of a true and accurate copy of a
22     screen shot I made of that post in October 2017.
23           17.    I also heard that Michael Force pays people to take down negative
24     comments about the company online. A man in Brazil contacted me and told me
25     that Michael Force is a scammer and that he does this.
26           18.    I spent a lot of time and effort and Digital Altitude ruined my dream.
27     I spent all my savings on Digital Altitude and I made nothing back.
28


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                                      Attachment A




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